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                                                           5 Attorneys for Plaintiffs
                                                           6 RICHARD “CHEECH” MARIN, an individual;
                                                                KOO KOO BANANA, INC., a California Corporation
                                                           7
                                                           8
                                                                                            UNITED STATES DISTRICT COURT
                                                           9
                                                                                          CENTRAL DISTRICT OF CALIFORNIA
                                                           10
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                                                           11
                                                              RICHARD “CHEECH” MARIN,                     Case No.: 2:19-cv-8082
                                                           12 an individual; KOO KOO BANANA,
                                                              INC., a California Corporation,
                                                           13                                             COMPLAINT FOR:
                                                                                   Plaintiffs,
                                                           14                                                1. VIOLATION OF THE
                                                                        v.                                      CALIFORNIA COMMON
                                                           15                                                   LAW RIGHT OF
                                         LAW CORPORATION




                                                              STEVEN CHIOCCHI, an individual;                   PUBLICITY;
                                                           16 CHEECH’S OWN, LLC, a New Jersey
                                                              Limited Liability Company,                     2. VIOLATION OF THE
                                                           17                                                   CALIFORNIA STATUTORY
                                                                                   Defendants.                  RIGHT OF PUBLICITY –
                                                           18                                                   CAL. CIVIL CODE §3344;

                                                           19                                                3. FEDERAL UNFAIR
                                                                                                                COMPETITION – 15 U.S.C.
                                                           20                                                   §1125(a);

                                                           21
                                                                                                             4. UNFAIR COMPETITION
                                                           22                                                   UNDER CALIFORNIA
                                                                                                                STATUTE AND COMMON
                                                           23                                                   LAW;

                                                           24                                                5. VIOLATION OF THE
                                                                                                                FEDERAL TRADEMARK
                                                           25                                                   DILUTION ACT – 15 U.S.C.
                                                                                                                §1125(c);
                                                           26
                                                                                                             6. DILUTION OF TRADE
                                                           27                                                   NAME – CAL. B&P CODE
                                                                                                                §1443;
                                                           28
                                                                {00189975.DOCX;}                          1
                                                                                                      COMPLAINT
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                                                           1
                                                                                                                    7. CYBERPIRACY – 15 U.S.C. §
                                                           2                                                           1125(d)
                                                           3
                                                                                                                        DEMAND FOR JURY TRIAL
                                                           4
                                                           5
                                                           6
                                                                        Plaintiffs for their Complaint against Steven Chiocchi and Cheech’s Own,
                                                           7
                                                                LLC (“Defendant” or “Defendants”), alleges as follows:
                                                           8
                                                                                                JURISDICTION AND VENUE
                                                           9
                                                                        1.         This Court has jurisdiction pursuant to 28 U.S.C. § 1332, as there is
                                                           10
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                                                                diversity of citizenship between the parties and the amount in controversy exceeds,
                                                           11
                                                                exclusive of costs and interest, the sum of seventy-five thousand dollars ($75,000).
                                                           12
                                                                        2.         This Court has subject matter jurisdiction over the federal causes of
                                                           13
                                                                action pursuant to 28 U.S.C. §1331.
                                                           14
                                                                        3.         This Court has supplemental jurisdiction over the state law claims
                                                           15
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                                                                pursuant to 28 U.S.C. §1367(a) and also to the extent that the state claims arise out
                                                           16
                                                                of the same common nucleus of fact as the federal claims herein.
                                                           17
                                                                        4.         Venue is proper in the United States District Court for the Central
                                                           18
                                                                District of California pursuant to 28 U.S.C. § 1391(a), (b)(2) and (c) because
                                                           19
                                                                Plaintiff Cheech resides in this judicial district and Plaintiff Koo Koo Banana, Inc.
                                                           20
                                                                is a California corporation with its principal place of business in this judicial district,
                                                           21
                                                                and because the claims and harms at issue in this action arose in this judicial district
                                                           22
                                                                as of the time the action was commenced.
                                                           23
                                                                                                           PARTIES
                                                           24
                                                                        5.         Plaintiff Richard “Cheech” Marin (“Plaintiff” or “Cheech”) is and at all
                                                           25
                                                                relevant times herein has been, an individual and resident and domiciliary in Los
                                                           26
                                                                Angeles, California, within this judicial district.
                                                           27
                                                                        6.         Plaintiff Koo Koo Banana, Inc. is and at all relevant times herein has
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                                                                                                            COMPLAINT
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                                                            1 been, a California corporation, with its principal place of business in Los Angeles,
                                                            2 California, within this judicial district. Koo Koo Banana, Inc. is the owner of
                                                            3 Richard “Cheech” Marin’s federally registered trademark of the word “Cheech”
                                                            4 referenced in this action.
                                                            5           7.         Plaintiffs are informed and believe, and based thereon allege, that
                                                            6 Defendant Steven Chiocchi, is, and all relevant times herein has been, a New Jersey
                                                            7 resident and domiciliary. Aside from operating Defendant Cheech’s Own, LLC he is
                                                            8 also a principal of the Areli Group, a company that specializes in Internet marketing,
                                                            9 branding, social media management and market optimization.
                                                           10           8.         Plaintiffs are informed and believe, and based thereon allege, that
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                                                           11 Defendant Cheech’s Own, LLC is a New Jersey limited liability company with its
                                                           12 principal place of business at 30 South Doughty Avenue, Apt. 204, Somerville, New
                                                           13 Jersey. Plaintiffs are further informed and believe, and based thereon allege that
                                                           14 Defendant Cheech’s Own, LLC owns and operates “Cheech’s Own Coffee
                                                           15 Company” as a “dba” and has a physical retail establishment at 37 West Main
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                                                           16 Street, Somerville, New Jersey.
                                                           17           9.         Defendants are, and at all times relevant hereto were, the alter-ego,
                                                           18 principal, agent, employee, employer, joint venture, customer, and/or otherwise
                                                           19 affiliated with one another so as to be liable in such capacity for the acts alleged
                                                           20 herein.
                                                           21                                    NATURE OF THE ACTION
                                                           22           10.        Very simply, Defendants have knowingly, consciously and maliciously
                                                           23 ripped-off and diluted Plaintiffs’ name, brand, identity and trademark. Defendants
                                                           24 have commercially trafficked on Plaintiff Cheech’s fame and identity through their
                                                           25 “Cheech’s Own” brand to further their own pecuniary interests.
                                                           26           11.        Over the course of fifty years, Richard “Cheech” Marin has enjoyed
                                                           27 renown as one of the world’s most famous comedians. Both his name and likeness
                                                           28
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                                                                                                            COMPLAINT
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                                                            1 are instantly recognizable in media and popular culture. Originally known as half of
                                                            2 the nationally and internationally famous comic duo, “Cheech & Chong,” Cheech
                                                            3 has long-since fashioned his own identity and celebrity based on his name, likeness,
                                                            4 voice and other characteristics. His celebrity is intersectional, multi-generational,
                                                            5 multi-ethnic, and multi-national. Both with Tommy Chong and individually,
                                                            6 performing as “Cheech,” Plaintiff has continuously been in the public eye since at
                                                            7 least 1971.
                                                            8           12.        In more recent years, Plaintiff Cheech’s fame and celebrity have grown
                                                            9 well beyond his roots as a comedian and actor. He is known as a writer, voice-over
                                                           10 artist and aficionado of fine arts (with a focus on Chicano Art), certain beverages,
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                                                           11 and, of course, cannabis and THC products (often associated with his early “stoner”
                                                           12 comedy). Cheech is also an independently successful businessman with a wide and
                                                           13 ever-expanding array of trademarked goods, each of which prominently features his
                                                           14 name and/or his likeness.
                                                           15           13.        Plaintiff created the unique spelling of his trade name, “Cheech” from
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                                                           16 whole cloth insofar as the more common nickname is spelled “chich” (a popular
                                                           17 diminutive for chicharron, a popular fried port snack).
                                                           18           14.        Plaintiffs are informed and believe, and based thereon allege, that the
                                                           19 name “Cheech’s Own” has been used by Defendants since at least approximately
                                                           20 2015. Using the name “Cheech’s Own,” Defendants have created a branded
                                                           21 company that sells and/or has sold various items (including whole bean coffee,
                                                           22 coffee and coffee beverage products, tea, soap, body scrubs and textiles). On
                                                           23 information and belief, these products were initially sold in New Jersey market stalls
                                                           24 at various local events, but are now sold from a Somerville, New Jersey coffee shop
                                                           25 and via the Internet on, among other sites/places, “cheechsown.com.” Additionally,
                                                           26 Plaintiffs are informed and believe, and based thereon allege, that Defendants’
                                                           27 products are sold in various third-party shops, gourmet stores, etc. in New Jersey
                                                           28
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                                                                                                            COMPLAINT
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                                                            1 and possibly elsewhere.
                                                            2           15.        Specifically, Defendants’ products are advertised world-wide via a
                                                            3 proprietary “cheechsown.com” website that directly traffics off Plaintiff Cheech’s
                                                            4 name, as well as on instagram, Facebook, Twitter, YouTube, etc. Such activities
                                                            5 create consumer confusion as to the origin of the product. Such illicit activities also
                                                            6 create a false implied endorsement and otherwise violate Plaintiffs’ right to control
                                                            7 the famous Cheech name, identity and brand. Finally, Defendants’ activities cause
                                                            8 misbranding and dilute, blur and/or tarnish the Cheech trademark owned by Plaintiff
                                                            9 Koo Koo Banana, Inc.
                                                           10                             FACTS AND AVERMENTS COMMON
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                                                           11                                  TO ALL CAUSES OF ACTION
                                                           12           16.        Plaintiff Richard “Cheech” Marin is a famous television and film
                                                           13 actor, writer, producer, director, performer, singer-songwriter, voice-over artist and,
                                                           14 of course, a well-known stand-up comic who still regularly tours and sells-out
                                                           15 venues across the United States and the world. Cheech is also one-half of the
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                                                           16 famous comedy duo known as “Cheech and Chong,” arguably one of the most
                                                           17 successful and influential American comic acts of all time.
                                                           18           17.        Following a lengthy stand-up and recording career in the early 1970s
                                                           19 and beginning with his first credited acting role in his 1978 film “Cheech and
                                                           20 Chong’s Up in Smoke,” Cheech now has over 110 credited acting roles in television
                                                           21 and film to his name. This includes both comedic and dramatic roles, in major
                                                           22 Hollywood productions such as the film “Cheech and Chong’s Up in Smoke” and
                                                           23 the television show “Nash Bridges.” In addition, Plaintiff Cheech regularly works
                                                           24 as a voice over artist, having provided voice over performances in well-known
                                                           25 animated feature films such as “Cars” and “The Lion King.” The top six films in
                                                           26 which Cheech has been involved as an actor, writer, producer, or director have
                                                           27 grossed over $160 million in worldwide box office revenues. This figure does not
                                                           28
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                                                                                                           COMPLAINT
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                                                            1 include either any ancillary income streams from those films or films in which
                                                            2 Cheech has performed significant voiceover work, as such work would account for
                                                            3 hundreds of millions of dollars more in worldwide revenues.
                                                            4           18.        While Plaintiff Cheech’s current focus is on live performance and
                                                            5 television projects, his earlier films have become staples of the resale market, in all
                                                            6 of its forms, whether via broadcast, cable, or digital media channels. Plaintiff
                                                            7 Cheech’s earlier film work continues to provide Plaintiff with a steady flow of
                                                            8 income and, to some extent, forms the basis for his current-day endorsements and
                                                            9 spin-off products.
                                                           10           19.        In addition, prior to and throughout his career in television and on film,
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                                                           11 Plaintiff Cheech has regularly and extensively toured in the United States, Canada,
                                                           12 and elsewhere in the world doing his comedy routines. A listing of Cheech’s
                                                           13 current tour dates with his comedy partner Tommy Chong (performing as the duo
                                                           14 “Cheech & Chong”) can be found on Plaintiff Cheech’s website located at
                                                           15 www.cheechandchong.com/tour.
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                                                           16           20.        Over the years, Plaintiff Cheech has also recorded numerous best-
                                                           17 selling comedy albums, including the comedy album Cheech & Chong, the 1971
                                                           18 self-titled debut album of Cheech & Chong which features the sketch “Dave,” which
                                                           19 is one of his most famous routines. Plaintiff has also released two best-selling
                                                           20 albums in the children’s music genre including the album “My Name is Cheech, the
                                                           21 School Bus Driver” dating from 1992. In 2007, Cheech added children’s book
                                                           22 author to his list of accomplishments with the release of an illustrated children’s
                                                           23 book of the same name.
                                                           24           21.        By virtue of his extensive acting roles in feature films and on
                                                           25 television, and his extensive comedy career, Plaintiff Cheech has an instantly
                                                           26 recognizable name and face that is known to millions in the so-called "baby boom"
                                                           27 generation – and well beyond. Cheech’s films, record albums and live performances
                                                           28
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                                                            1 have made him, both individually, and with his comedic partner, Tommy Chong,
                                                            2 famous the world over.
                                                            3           22.        In recognition of his fame and status as a public figure, Plaintiff also
                                                            4 regularly appears “as himself” in television and film projects, in addition to his
                                                            5 credited acting roles. For example, Plaintiff Cheech was the winner of the inaugural
                                                            6 Celebrity Jeopardy! tournament in 1992, and has also appeared on “reality”
                                                            7 television shows such as Celebrity Duets and Rachael vs. Guy: Celebrity Cook-Off.
                                                            8           23.        Plaintiff Cheech’s unique name and likeness is instantly recognizable to
                                                            9 consumers the world-over and has come to be associated with him and the films,
                                                           10 comedy act and products he owns or endorses. For example, Plaintiff’s name and
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                                                           11 likeness is prominently featured on his websites located at www.cheechmarin.com
                                                           12 and www.cheechandchong.com, which are used to promote projects and products
                                                           13 with which he is involved.
                                                           14           24.        Plaintiff Cheech’s fame is current and ongoing. He is active on social
                                                           15 media platforms such as Facebook and Twitter with over 734,000 “likes,” 64,000
                                         LAW CORPORATION




                                                           16 “followers” and tens of millions of views on YouTube where his name and likeness
                                                           17 is prominently featured. These platforms provide an opportunity for Plaintiff’s fans
                                                           18 to interact with him and learn about his latest projects.
                                                           19           25.        Plaintiff Cheech’s name and likeness (both together and/or separately)
                                                           20 have become widely known by a substantial segment of the public in the United
                                                           21 States and elsewhere in the world. As such, Plaintiff’s name and likeness are
                                                           22 valuable commercial assets that symbolize Plaintiff and the level of quality of his
                                                           23 own services and of the products he endorses, as well as the goodwill associated
                                                           24 with them. There is no question that Plaintiff Cheech's name and likeness are
                                                           25 distinctive and famous.
                                                           26           26.        As an entertainer, Plaintiff Cheech’s career depends upon his public
                                                           27 persona. In the course of a career spanning fifty years, Cheech has invested
                                                           28
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                                                                                                            COMPLAINT
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                                                            1 substantial time, energy, effort and expense into achieving, developing and
                                                            2 maintaining his considerable professional and commercial success, as well as
                                                            3 developing and maintaining his popularity and keeping the fame and prominence of
                                                            4 his name and likeness in the public eye.
                                                            5           27.        Plaintiffs offer for sale certain branded merchandise, including
                                                            6 clothing, posters, stickers, magnets, mugs, figurines, and other paraphernalia all of
                                                            7 which feature Plaintiff Cheech’s name and/or likeness. While certain items are or
                                                            8 have been sold through his own online stores, Plaintiffs have licensed certain
                                                            9 products and have allowed the use of Plaintiff Cheech’s name and/or likeness in
                                                           10 connection with such licenses. In either instance (direct sale or license), Plaintiffs
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                                                           11 are careful not only about the quality of the products they license or sell but also of
                                                           12 each of their licensees insofar as the activities and qualities of the licensees and
                                                           13 licensed products directly relate to Plaintiff Cheech’s personal brand.
                                                           14           28.        Plaintiff Cheech, through Plaintiff Koo Koo Banana, Inc., has a
                                                           15 registered trademark for “Cheech” found at US. Reg. No. 5489180 and a pending
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                                                           16 application for trademark under U.S. Ser. No. 86765064.
                                                           17           29.        Due to Plaintiff Cheech’s enduring popularity and profile in the world
                                                           18 of entertainment, media and pop culture, Cheech enjoys significant name and image
                                                           19 recognition and has enjoyed many endorsement opportunities in a variety of product
                                                           20 categories, including but not limited to, beverages.
                                                           21           30.        Plaintiff Cheech has a unique place in the entertainment and artistic
                                                           22 world and has a unique and immediately identifiable name and/or likeness that is
                                                           23 invaluable in obtaining certain kinds of endorsements or in selling products. While
                                                           24 Plaintiff Cheech is a particularly valuable endorser in the smoking and
                                                           25 “counterculture” product categories, due to his reputation in the counterculture
                                                           26 community, which has been developed over his professional career, he has also a
                                                           27 strong and demonstrable track record of “cross-over” endorsements and
                                                           28
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                                                                                                            COMPLAINT
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                                                            1 accomplishments. The list of such projects and endorsements is long, but includes
                                                            2 everything from children’s books to food and beverage items. For example,
                                                            3 Plaintiff Cheech presently endorses an array of products, including foods, clothing
                                                            4 and apparel, and sauces, which are sold in the United States, Canada, and elsewhere
                                                            5 in the world. In addition to his present endorsement activities, Plaintiff Cheech is
                                                            6 actively working on expanding the range and number of products which he
                                                            7 endorses, including into further beverage products.
                                                            8                           DEFENDANTS’ UNLAWFUL ACTIVITIES
                                                            9           31.        Plaintiffs recently became aware of Defendants and their activities in
                                                           10 association with the “Cheech’s Own” brand. Specifically, Defendants have traded
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                                                           11 off Plaintiff Cheech’s famous name by operating an unincorporated entity called
                                                           12 “Cheech’s Own Coffee Company” that, on information and belief, is a DBA/trade
                                                           13 name for Cheech’s Own, LLC. Cheech’s Own Coffee Company manufactures,
                                                           14 sells, and distributes coffee and coffee products. The “Cheech’s Own” brand,
                                                           15 however, also manufactures, sells and distributes, inter alia, textiles, soap and other
                                         LAW CORPORATION




                                                           16 health & beauty products (including skin scrubs and exfoliants), all in violation of
                                                           17 Plaintiffs’ rights.
                                                           18           32.        Defendants market their products via various social media platforms,
                                                           19 including at their website, “cheechsown.com.” Defendants’ social media sites
                                                           20 include a proprietary “cheechsown” Instagram page and Defendants use variants of
                                                           21 Plaintiff Cheech’s name in hashtags that include #cheechsown (which includes
                                                           22 images of Cheech & Chong); #cheechyoself; #cheechsowncoffeeshop;
                                                           23 #cheechsowncafe; #cheechsowncoldbrew, among others.
                                                           24           33.        As described in more detail below, Defendants have (without
                                                           25 authorization but with full knowledge of Plaintiff Cheech’s identity and Plaintiffs’
                                                           26 rights, title, and interest in and to the Cheech name and/or identity and/or famous
                                                           27 trademarks) adopted, used and promoted Cheech’s name – and continue to do so –
                                                           28
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                                                                                                           COMPLAINT
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                                                            1 in order to direct attention to Defendants’ wares and business(es) to suggest or
                                                            2 imply that they are affiliated or sanctioned by Plaintiffs, when that is not the case.
                                                            3           34.        The initial and continuing use of Plaintiffs’ trade name (or variant
                                                            4 thereon) of “Cheech’s Own” is a knowing, malicious, oppressive, fraudulent and
                                                            5 willful act, calculated to harm Plaintiffs’ brand and existing trademark. Defendants’
                                                            6 activities impairs Plaintiffs’ trademark zone of expansion and is a naked attempt to
                                                            7 profit off Plaintiff Cheech’s name. Defendants’ ongoing acts are willful, malicious,
                                                            8 fraudulent and oppressive and deserving of enhanced and/or punitive damages.
                                                            9 Specifically, on February 15, 2018, Defendants applied for a trademark for
                                                           10 “Cheech’s Own” via U.S. Application Serial No. 87799675. On June 5, 2018, the
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                                                           11 United States Patent and Trademark Office rejected the application. A true and
                                                           12 correct copy of the June 5, 2018 Rejection is attached as Exhibit “A” hereto.
                                                           13           35.        In rejecting Defendants’ Application Serial No. 87799675 for the name
                                                           14 “Cheech’s Own,” the USPTO stated in its Office Action, in part, as follows:
                                                           15           •     “The applied-for mark consists of or includes matter which may falsely
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                                                           16                 suggest a connection with Cheech Marin . . . Cheech Marin is so well
                                                           17                 known that consumers would presume a connection.”
                                                           18           •     “The applied for mark CHEECH’S OWN, uses the name CHEECH which
                                                           19                 is the shortened name used by the famous comedian.”
                                                           20           •     “Cheech is already the brand ambassador for PAPALOTE MEZCAL…
                                                           21                 therefore his name is already connected to a beverage.”
                                                           22           •     “Moreover, consumers are familiar with celebrities creating coffee
                                                           23                 lines…”
                                                           24           •     “As a result consumers would reasonably believe Cheech Marin is
                                                           25                 connected to the Applicant’s mark.”
                                                           26           •     “Registration is refused because the applied for mark consists of or
                                                           27                 includes matter which may falsely suggest a connection with [the] famous
                                                           28
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                                                                                                            COMPLAINT
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                                                            1                 comedian, actor, narrator, and writer Cheech Marin.”
                                                            2           •     “Since celebrities are commonly associated with food product lines and
                                                            3                 Cheech Marin already endorses a beverage, the public would reasonably
                                                            4                 assume a connection between him and food products, such as coffee,
                                                            5                 coffee-based beverages, and coffee beans.”
                                                            6           36.        The USPTO, in its Office Action, wrote that it might reconsider the
                                                            7 rejection if Defendants submitted a written consent by Plaintiff Cheech. No such
                                                            8 consent from Plaintiff Cheech (or the record holder of the Cheech trademark, Koo
                                                            9 Koo Banana, Inc.) was ever sought by Defendants, nor did Defendants ever disclose
                                                           10 to Plaintiffs their attempt to register Plaintiff’s name.
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                                                           11           37.        The Rejection by the USPTO was complete and devastating. Its
                                                           12 language, as quoted above, was so damning as to the actual or potential
                                                           13 infringement, that Defendants never even bothered to file a response to the Office
                                                           14 Action/rejection of the Application.
                                                           15           38.        Despite categorically being told by the U.S. government that they were
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                                                           16 creating consumer confusion in using Plaintiffs’ name and trademark without
                                                           17 Plaintiffs’ consent, and despite knowing that they were trading off – and profiting
                                                           18 from – Plaintiff Cheech’s name, Defendants continued, and continue to this day, to
                                                           19 use the name “Cheech’s Own” and continue to rip-off and profit from their
                                                           20 knowing, willful and fraudulent conduct, to the detriment of Plaintiffs.
                                                           21           39.        The fact that Defendants’ conduct is willful and malicious in terms of
                                                           22 the use of the “Cheech’s Own” brand is underscored by the fact that Plaintiff
                                                           23 Chiocchi is an Internet and branding expert. As professional involved in Internet
                                                           24 marketing and branding, he cannot pretend to be oblivious of the power of
                                                           25 Plaintiffs’ brand identity. He cannot pretend not to know exactly what he was doing
                                                           26 in creating a branded product line that could have been called anything –but that he
                                                           27 willfully choose to call “Cheech’s Own.” Indeed, to this very day, despite
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                                                                                                           COMPLAINT
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                                                            1 Defendant Chiocchi’s personal knowledge that his conduct and commercial efforts
                                                            2 misrepresent a connection with Plaintiff Cheech, and despite being specifically told
                                                            3 the exact same thing in very harsh language by the USPTO, Defendants continue to
                                                            4 offer their products for sale on Defendants’ website and on other social media
                                                            5 platforms, including YouTube, Facebook and Twitter. Using this full-court press of
                                                            6 social media – in which Defendant Chiocci is apparently an expert – Defendants
                                                            7 promote, advertise, and/or offer for sale a range of whole bean coffees, coffee
                                                            8 drinks and other beverage products as well as clothing, apparel, soaps, scrubs
                                                            9 (including Cheech’s Own Sweet & Fresh Coffee Body Scrub), and other items (for
                                                           10 pay or as promotional items) such as stickers, plastic cups, ceramic cups, mugs,
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                                                           11 coffee cup sleeves, in association with names and marks that include the word
                                                           12 “Cheech.” This conduct is a direct and knowing violation of Plaintiffs’ rights.
                                                           13           40.        Beyond such direct sales, and in addition to sales of Defendants’
                                                           14 products offered through the “cheechsown.com” website and at their own
                                                           15 Sommervile, New Jersey coffee shop, Defendants distribute their products to over
                                         LAW CORPORATION




                                                           16 15 retail outlets, who then resell the “Cheech’s Own” brand of products through
                                                           17 proprietary physical and online retail channels.
                                                           18           41.        Plaintiffs have never used nor endorsed Defendants, their business, or
                                                           19 their products. Plaintiffs did not authorize Defendants to use Plaintiff Cheech’s
                                                           20 name for their products or for the advertisement of their products, nor have Plaintiffs
                                                           21 been compensated by Defendants in any way for Defendants’ commercial activities
                                                           22 in association with Plaintiff Cheech’s name.
                                                           23           42.        Given the above facts, there is no question of consumer confusion
                                                           24 created by Defendants’ illicit acts, or Defendants’ knowledge of the wrongfulness of
                                                           25 their conduct. Defendants have specifically created a brand and a coffee company
                                                           26 designed to profit off the use of Plaintiff Cheech’s name and to wrongfully suggest
                                                           27 to the consuming public that Plaintiff Cheech is associated with, endorses or profits
                                                           28
                                                                {00189975.DOCX;}                              12
                                                                                                           COMPLAINT
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                                                            1 from Defendants’ product. Defendants’ conduct as described herein also dilutes,
                                                            2 blurs and tarnishes Plaintiffs’ registered mark as well as Plaintiff Cheech’s brand in
                                                            3 general.
                                                            4                                   FIRST CLAIM FOR RELIEF
                                                            5                      Violation of the California Common Law Right of Publicity
                                                            6                                         (Against All Defendants)
                                                            7           43.        Plaintiffs incorporate by reference the allegations of paragraphs 1
                                                            8 through 42 as though fully set forth herein.
                                                            9           44.        In committing the acts alleged herein, Defendants have misused for
                                                           10 their own commercial purposes Plaintiff Cheech’s name, identity and persona in
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                                                           11 connection with the infringing sales and promotions without Plaintiffs’ consent.
                                                           12           45.        The commercial use and misappropriation of Plaintiff Cheech’s name,
                                                           13 identity and persona is a violation of the California common law right of privacy,
                                                           14 which includes the right of publicity. Said wrongful use and misappropriation
                                                           15 constitutes, inter alia, a wrongful and false implied endorsement of Defendants’
                                         LAW CORPORATION




                                                           16 product that has resulted in pecuniary gain and/or other commercial advantage to
                                                           17 Defendants.
                                                           18           46.        In committing the acts alleged herein, Defendants, and each of them,
                                                           19 acting with oppression, fraud and malice, and with willful and conscious disregard
                                                           20 of Plaintiffs’ rights and interests, have knowingly and unlawfully misused and
                                                           21 misappropriated Plaintiff Cheech’s name, identity and persona in connection with
                                                           22 the infringing sales and promotions for Defendants’ own commercial purposes.
                                                           23           47.        As a result of Defendants’ acts alleged herein, Plaintiffs have suffered
                                                           24 and will continue to suffer injury and damages in excess of the jurisdictional
                                                           25 minimum of this Court in an amount to be proven at trial.
                                                           26           48.        Defendants’ violations alleged herein are continuing and unless
                                                           27 restrained and enjoined will cause irreparable injury to Plaintiffs’ business and
                                                           28
                                                                {00189975.DOCX;}                               13
                                                                                                            COMPLAINT
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                                                            1 property for which Plaintiffs have no adequate remedy at law.
                                                            2                                  SECOND CLAIM FOR RELIEF
                                                            3                            Violation of the California Statutory Right
                                                            4                                  of Publicity – Civil Code § 3344
                                                            5                                      (Against All Defendants)
                                                            6           49.        Plaintiffs incorporate by reference paragraphs 1 through 42 as though
                                                            7 fully set forth herein.
                                                            8           50.        In committing the acts alleged herein, Defendants, and each of them,
                                                            9 acting with oppression, fraud and malice, and with willful and conscious disregard
                                                           10 of Plaintiffs’ rights and interests, have knowingly and unlawfully misused and
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                                                           11 misappropriated Plaintiff Cheech’s name, identity and persona in connection with
                                                           12 the infringing sales and promotions for Defendants’ own commercial purposes.
                                                           13           51.        Defendants’ misappropriation of plaintiff Cheech’s name, identity and
                                                           14 persona is a violation of California Civil Code § 3344 and was used directly for
                                                           15 Defendants’ own advertising and commercial purposes.
                                         LAW CORPORATION




                                                           16           52.        As a result of Defendants’ acts alleged herein, Plaintiffs have suffered,
                                                           17 and will continue to suffer, damages in excess of the jurisdictional minimum of this
                                                           18 Court in an amount to be proven at trial.
                                                           19           53.        Defendants’ violations alleged herein are continuing and unless
                                                           20 restrained and enjoined will cause irreparable injury to Plaintiffs’ business and
                                                           21 property for which Plaintiffs have no adequate remedy at law.
                                                           22                                   THIRD CLAIM FOR RELIEF
                                                           23                          For Federal Unfair Competition – 15 USC § 1125(a)
                                                           24                                          (Against All Defendants)
                                                           25           54.        Plaintiffs incorporate by reference the allegations of paragraphs 1
                                                           26 through 42 as though fully set forth herein.
                                                           27           55.        In doing the acts alleged herein, Defendants have engaged in
                                                           28
                                                                {00189975.DOCX;}                               14
                                                                                                            COMPLAINT
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                                                            1 commercial activity that is likely to cause confusion and/or mislead consumers into
                                                            2 believing that Plaintiffs have endorsed, sponsored, or otherwise approved of
                                                            3 Defendants’ products and/or services when in fact they have not.
                                                            4           56.        Defendants’ acts as set forth in this Complaint have, in fact, misled and
                                                            5 confused consumers, and continue to mislead and confuse consumers.
                                                            6           57.        Defendants’ conduct constitutes a willful violation of 15 U.S.C.
                                                            7 §1125(a)(1)(A) insofar as such conduct creates the appearance of a false
                                                            8 endorsement in connection with goods and/or services. This is particularly true
                                                            9 insofar as Plaintiff Cheech is a well-known and famous celebrity who has very high
                                                           10 name-recognition in most segments of society, including the segment for whom
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                                                           11 Defendants’ product is intended.
                                                           12           58.        As a result of Defendants’ acts alleged herein, Plaintiffs have suffered,
                                                           13 and will continue to suffer, damages in excess of the jurisdictional minimum of this
                                                           14 Court in an amount to be proven at trial.
                                                           15           59.        Defendants’ violations alleged herein are continuing and unless
                                         LAW CORPORATION




                                                           16 restrained and enjoined will cause irreparable injury to Plaintiffs’ business and
                                                           17 property for which Plaintiffs have no adequate remedy at law.
                                                           18                                     FOURTH CLAIM FOR RELIEF
                                                           19      For Unfair Competition Pursuant to California Statute and Common Law
                                                           20                                       (Against all Defendants)
                                                           21           60.        Plaintiffs incorporate by reference the allegations of paragraphs 1
                                                           22 through 42, inclusive, of this Complaint as though fully set forth herein.
                                                           23           61.        This claim for relief arises under the California law of unfair
                                                           24 competition, California Business and Professions Code § 17200 et seq. and the
                                                           25 California common law.
                                                           26           62.        As described herein, Defendants have engaged in acts of unfair
                                                           27 competition which injure Plaintiffs’ name, business, goodwill and contractual and
                                                           28
                                                                {00189975.DOCX;}                               15
                                                                                                            COMPLAINT
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                                                            1 business relationships. Defendants’ acts were committed with full knowledge of
                                                            2 their impropriety and with the intent to injure Plaintiffs’ business. Said acts were
                                                            3 accomplished by means of the deceptive use in connection with Defendants’
                                                            4 products, services and shops, all of which trade on Plaintiff’s name, fame,
                                                            5 trademarks and trade names which are confusingly similar to Plaintiffs’ famous
                                                            6 name and trade name and marks. Defendants’ goods and shops compete with
                                                            7 those of Plaintiffs. As a direct and proximate result of Defendants’ violations
                                                            8 charged herein, Plaintiffs have been injured in their business and property.
                                                            9           63.        As a result of Defendants’ acts alleged herein, Plaintiffs have suffered,
                                                           10 and will continue to suffer, damages in excess of the jurisdictional minimum of this
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                                                           11 Court in an amount to be proven at trial.
                                                           12           64.        At the time Defendants committed the unlawful acts, Defendants were
                                                           13 guilty of fraud, oppression, malice and a willful and conscious disregard of
                                                           14 Plaintiffs’ rights in that Defendants willfully adopted and used a substantially
                                                           15 identical and confusingly similar trade name to Plaintiffs’ name, trade name and
                                         LAW CORPORATION




                                                           16 trademark. Defendants committed the aforementioned acts of unfair competition
                                                           17 with a conscious disregard of Plaintiffs’ rights and the acts were ratified and
                                                           18 authorized by the officers, directors and agents of Defendants. Plaintiffs have been
                                                           19 oppressed and injured and are entitled to an award of enhanced, punitive and
                                                           20 exemplary damages in an amount to be proven at trial.
                                                           21           65.        Defendants’ violations alleged herein are continuing and unless
                                                           22 restrained and enjoined will cause irreparable injury to Plaintiffs’ business and
                                                           23 property for which Plaintiffs have no adequate remedy at law.
                                                           24
                                                           25
                                                           26 / / /
                                                           27 / / /
                                                           28
                                                                {00189975.DOCX;}                               16
                                                                                                            COMPLAINT
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                                                            1                                      FIFTH CLAIM FOR RELIEF
                                                            2                      For Trademark Dilution Under the Federal Trademark
                                                            3                            Dilution Revision Act – 15 U.S.C. § 1125(c)
                                                            4                                      (Against all Defendants)
                                                            5           66.        Plaintiffs incorporate by reference the allegations of paragraphs 1
                                                            6 through 42, inclusive, of this Complaint as though fully set forth herein.
                                                            7           67.        Plaintiff Cheech, through Plaintiff Koo Koo Banana, Inc., is the owner
                                                            8 of a famous name, “Cheech” and related famous federally registered trademark of
                                                            9 his famous name. Plaintiff Cheech has used the marks registered by Koo Koo
                                                           10 Banana in commerce since 2010 and his own name for fifty years. Plaintiffs
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                                                           11 extensively and continuously advertise Plaintiff Cheech’s name and mark
                                                           12 throughout the country and the world via advertisements, social media, traditional
                                                           13 media, personal appearances and live performances, among other avenues of
                                                           14 exposure. As a result of such efforts, Plaintiffs have obtained a high level of
                                                           15 distinctiveness, public recognition and fame of both Plaintiff Cheech and of Koo
                                         LAW CORPORATION




                                                           16 Koo Banana, Inc.’s registered mark so that when people hear the word “Cheech”
                                                           17 they instantly think of Plaintiff Cheech’s name, identity, likeness and/or persona.
                                                           18           68.        Plaintiffs trademarked items are sold in commerce and are distributed
                                                           19 in many of the same channels that Defendants subsequently set-up to sell their own
                                                           20 dilutive brand. Defendants’ marketing efforts, which are active and ongoing,
                                                           21 involve brick and mortar resellers and stores as well as a calculated Internet sales
                                                           22 strategy. Plaintiffs are informed and believe, and based thereon allege, that
                                                           23 Defendants’ Internet sales are or could be made on a nation-wide basis in interstate
                                                           24 commerce, including in California. As set forth above, Plaintiffs have numerous
                                                           25 and expanding license deals whereby third parties are legally allowed to use Plaintiff
                                                           26 Cheech’s name in commerce and Plaintiffs’ products are sold in a similar way to
                                                           27 Defendants’ products.
                                                           28
                                                                {00189975.DOCX;}                               17
                                                                                                            COMPLAINT
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                                                            1           69.        Defendants adopted the name “Cheech’s Own” in commerce in or
                                                            2 about 2015, well after Plaintiffs’ name was well-known and famous, and during
                                                            3 which time Plaintiffs had already applied for, and later used, the Cheech
                                                            4 trademark.
                                                            5           70.        Defendants have used Plaintiff Cheech’s name in commerce for
                                                            6 commercial purposes, without Plaintiffs’ consent in connection with the “Cheech’s
                                                            7 Own” line of products and services and have, as a result, diluted Plaintiffs’ existing
                                                            8 trademark by blurring the distinctiveness of Plaintiffs’ mark as well as the
                                                            9 distinction between Plaintiffs and Defendants’ products. Such efforts by Defendants
                                                           10 are made for the purpose of profiting from Plaintiff Cheech’s name and fame and
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                                                           11 Koo Koo Banana, Inc.’s trademarks of Plaintiffs’ Cheech’s name.
                                                           12           71.        This blurring creates conditions that lessen the capacity of Plaintiffs’
                                                           13 own marks to identify and distinguish goods and services owned or licensed by
                                                           14 Plaintiff. Further, because there is no quality control over the mislabeled and
                                                           15 misbranded marks used by Defendants, Defendants’ marks also tarnish Plaintiffs’
                                         LAW CORPORATION




                                                           16 existing marks.
                                                           17           72.        As a result of Defendants’ acts alleged herein, Plaintiffs have suffered,
                                                           18 and will continue to suffer, damages in excess of the jurisdictional minimum of this
                                                           19 Court in an amount to be proven at trial.
                                                           20           73.        Defendants’ violations alleged herein are continuing and unless
                                                           21 restrained and enjoined will cause irreparable injury to Plaintiffs’ business and
                                                           22 property for which Plaintiffs have no adequate remedy at law.
                                                           23                                       SIXTH CLAIM FOR RELIEF
                                                           24                 For Trademark Dilution Under the California Trademark
                                                           25                           Dilution Act– Cal. B&P Code §§ 14330-14335
                                                           26                                       (Against all Defendants)
                                                           27           74.        Plaintiffs incorporate by reference the allegations of paragraphs 1
                                                           28
                                                                {00189975.DOCX;}                               18
                                                                                                            COMPLAINT
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                                                            1 through 42 and 66 through 73, inclusive, of this Complaint as though fully set forth
                                                            2 herein.
                                                            3           75.        Plaintiff Cheech is the owner of a famous trade name (“Cheech”) valid
                                                            4 at common law and Plaintiff Koo Koo Banana, Inc. is the owner of a federally
                                                            5 registered mark of the same word under Title 15 of the United States Code. Plaintiff
                                                            6 Cheech has used his name in commerce for 50 years. Plaintiff Cheech extensively
                                                            7 and continuously advertises his name and mark throughout the country and the
                                                            8 world via advertisements, social media, traditional media, personal appearances and
                                                            9 live performances, among other avenues of exposure. As a result of such efforts,
                                                           10 Plaintiffs have obtained a high level of distinctiveness, public recognition and fame
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                                                           11 of Plaintiff Cheech and of his trade name and mark so that when people hear the
                                                           12 word, “Cheech” they instantly think of Plaintiffs’ name, identity, mark, likeness
                                                           13 and/or persona.
                                                           14           76.        Plaintiffs sell products that use the Cheech name in commerce and that
                                                           15 are distributed in many of the same channels that Defendants subsequently set-up to
                                         LAW CORPORATION




                                                           16 sell their own brand. This includes resellers and physical stores as well as a
                                                           17 coordinated Internet marketing sales strategy. Plaintiffs are informed and believe,
                                                           18 and based thereon allege, that such Internet sales are or could be made on a nation-
                                                           19 wide basis in interstate commerce, including in California. As set forth above,
                                                           20 Plaintiffs have numerous and expanding license deals whereby third parties are
                                                           21 legally allowed to use Plaintiff Cheech’s name in commerce and Plaintiffs’ products
                                                           22 are sold in a similar way to Defendants’.
                                                           23           77.        Defendants adopted the name “Cheech’s Own” in or about 2015, well
                                                           24 after Plaintiffs’ name was used in commerce and was well-known and famous, and
                                                           25 also after Plaintiff Koo Koo Banana, Inc. applied for trademark registration.
                                                           26           78.        Defendants have used Plaintiffs’ name and mark in commerce for
                                                           27 commercial purposes, without Plaintiffs’ consent in connection with the “Cheech’s
                                                           28
                                                                {00189975.DOCX;}                              19
                                                                                                           COMPLAINT
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                                                            1 Own” line of products and services and have, as a result, diluted Plaintiffs’ existing
                                                            2 valid and well-known trade name and mark by blurring the distinction between
                                                            3 Plaintiffs’ and Defendants’ products and attempting to profit thereby. Such efforts
                                                            4 by Defendants are made for the purpose of profiting from Plaintiff’s name, fame and
                                                            5 mark.
                                                            6           79.        This blurring creates conditions that lessen the capacity of Plaintiffs’
                                                            7 own valid trade name and mark to identify and distinguish goods and services
                                                            8 (including Cheech’s personal appearance performance and concert services) owned
                                                            9 by Plaintiffs. Further, because there is no quality control over the mislabeled and
                                                           10 misbranded marks used by Defendants, Defendants’ marks also tarnish Plaintiffs’
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                                                           11 existing name and marks.
                                                           12           80.        As a result of Defendants’ acts alleged herein, Plaintiffs have suffered,
                                                           13 and will continue to suffer, damages in excess of the jurisdictional minimum of this
                                                           14 Court in an amount to be proven at trial.
                                                           15           81.        Defendants’ violations alleged herein are continuing and unless
                                         LAW CORPORATION




                                                           16 restrained and enjoined will cause irreparable injury to Plaintiffs’ business and
                                                           17 property for which Plaintiffs have no adequate remedy at law.
                                                           18                                    SEVENTH CLAIM FOR RELIEF
                                                           19                               For Cyberpiracy – 15 U.S.C. § 1125(d)
                                                           20                                       (Against all Defendants)
                                                           21           82.        Plaintiffs incorporate by reference the allegations of paragraphs 1
                                                           22 through 42, inclusive, of this Complaint as though fully set forth herein.
                                                           23           83.        Plaintiff has knowingly and wrongfully registered, uses and traffics in
                                                           24 the domain name “cheechsown.com” which incorporates Plaintiff Cheech’s
                                                           25 famous and personal name, which is already protected by trademark and by
                                                           26 Plaintiff’s fame in popular culture, which fame and distinction (including
                                                           27 distinctiveness of the Cheech trademark) far predates Defendants’ use or domain
                                                           28
                                                                {00189975.DOCX;}                               20
                                                                                                            COMPLAINT
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                                                            1 name registration of the “cheechsown.com” domain name.
                                                            2           84.        The use of “cheechsown.com” is in knowing bad faith with a bad faith
                                                            3 intent to profit from Plaintiff Cheech and his fame and Plaintiffs’ distinctive mark.
                                                            4 “Cheech’s Own” or the derivative “cheechsown.com” website is confusingly
                                                            5 similar to Plaintiffs’ name and mark and also to Plaintiff Cheech’s own website,
                                                            6 “cheechmarin.com” and “cheechandchong.com.”
                                                            7           85.        Plaintiffs have been damaged by Defendants’ wrongful conduct in an
                                                            8 amount to be determined by proof at trial, but which amount exceeds the
                                                            9 jurisdictional minimum of this Court.
                                                           10           86.        In addition to any other damages to which Defendants may be subject,
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                                                           11 Plaintiffs are entitled under federal statute to the forfeiture or cancellation of
                                                           12 Defendants’ domain name.
                                                           13           WHEREFORE, Plaintiffs prays for judgment against Defendants, and each
                                                           14 of them, as follows:
                                                           15
                                         LAW CORPORATION




                                                                        AS TO THE FIRST CLAIM FOR RELIEF FOR VIOLATION OF
                                                           16
                                                                THE CALIFORNIA COMMON LAW RIGHT OF PUBLICITY:
                                                           17
                                                                        1.         For actual damages suffered by Plaintiffs in an amount to be proven
                                                           18
                                                                at trial;
                                                           19
                                                                        2.         For damage to Plaintiffs for injury to goodwill, professional standing,
                                                           20
                                                                and future publicity value;
                                                           21
                                                                        3.         For an Order requiring Defendants to account to and pay to Plaintiffs
                                                           22
                                                                all gains, profits, benefits and advantages derived by Defendants from their use of
                                                           23
                                                                Plaintiff Cheech’s name in commerce;
                                                           24
                                                                        4.         For temporary, preliminary and permanent injunctions enjoining
                                                           25
                                                                Defendants from continuing to engage in the violations alleged, including but not
                                                           26
                                                                limited to:
                                                           27
                                                           28
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                                                                                                            COMPLAINT
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                                                           1                       a.    Selling, marketing or promoting any product containing
                                                           2                       Plaintiffs’ famous trade name, “Cheech;”
                                                           3                       b.    Using the website “Cheechsown.com” or any variant thereof;
                                                           4                       c.    Using the corporate name, Cheech’s Own, LLC;
                                                           5                       d.    Using the “DBA” Cheech’s Own Coffee Company;
                                                           6                       e.    Infringing Plaintiffs' trade name in any manner and from
                                                           7                       continuing to use trade names which are confusingly similar to
                                                           8                       Plaintiffs’ trade name in connection with any goods, services and/or
                                                           9                       shops and/or engaging in unfair competition;
                                                           10                      f.    Engaging in any conduct which falsely tends to represent or is
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                                                           11                      likely to confuse, mislead or deceive consumers and/or members of
                                                           12                      the public into thinking that Defendants are somehow affiliated with
                                                           13                      Plaintiffs or that Defendants' goods, services and/or shops are offered
                                                           14                      by Plaintiffs and/or that the Defendants' goods, services and/or shops
                                                           15                      have been sponsored, approved or licensed by Plaintiffs;
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                                                           16                      g.    Engaging in any conduct that tends to cause injury to Plaintiffs’
                                                           17                      business and/or reputation, unfairly competes with Plaintiffs and/or
                                                           18                      dilutes the distinctive quality of Plaintiffs’ trade name or mark;
                                                           19           5.         For punitive and exemplary damages.
                                                           20
                                                                        AS TO THE SECOND CLAIM FOR RELIEF FOR VIOLATION OF
                                                           21
                                                                THE CALIFORNIA STATUTORY RIGHT OF PUBLICITY:
                                                           22
                                                                        1.         For actual damages or statutory damages under Cal Civ. Code §3344, et
                                                           23
                                                                seq. whichever is greater, for injury suffered by Plaintiffs in an amount to be proven
                                                           24
                                                                at trial;
                                                           25
                                                                        2.         For damage to Plaintiffs for injury to goodwill, professional standing,
                                                           26
                                                                and future publicity value;
                                                           27
                                                           28
                                                                {00189975.DOCX;}                               22
                                                                                                            COMPLAINT
                                                            Case 2:19-cv-08082 Document 1 Filed 09/18/19 Page 23 of 52 Page ID #:23




                                                           1            3.         For an Order requiring Defendants to account to and pay to Plaintiffs
                                                           2 all gains, profits, benefits and advantages derived by Defendants from their
                                                           3 unauthorized use of Plaintiff Cheech’s name in commerce;
                                                           4            4.         For temporary, preliminary and permanent injunctions enjoining
                                                           5 Defendants from continuing to engage in the violations alleged, including but not
                                                           6 limited to:
                                                           7                       a.    Selling, marketing or promoting any product or service
                                                           8                       containing Plaintiffs’ famous trade name, “Cheech;”
                                                           9                       b.    Using the website “Cheechsown.com” or any variant thereof;
                                                           10                      c.    Using the corporate name, Cheech’s Own, LLC;
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                                                           11                      d.    Using the “DBA” Cheech’s Own Coffee Company;
                                                           12                      e.    Infringing Plaintiffs' trade name in any manner and from
                                                           13                      continuing to use trade names which are confusingly similar to
                                                           14                      Plaintiffs’ trade name in connection with any goods, services and/or
                                                           15                      shops and/or engaging in unfair competition;
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                                                           16                      f.    Engaging in any conduct which falsely tends to represent or is
                                                           17                      likely to confuse, mislead or deceive consumers and/or members of
                                                           18                      the public into thinking that Defendants are somehow affiliated with
                                                           19                      Plaintiffs or that Defendants' goods, services and/or shops are offered
                                                           20                      by Plaintiffs and/or that the Defendants' goods, services and/or shops
                                                           21                      have been sponsored, approved or licensed by Plaintiffs;
                                                           22                      g.    Engaging in any conduct that tends to cause injury to Plaintiffs’
                                                           23                      business and/or reputation, unfairly competes with Plaintiffs and/or
                                                           24                      dilutes the distinctive quality of Plaintiffs’ trade name;
                                                           25           5.         For punitive and exemplary damages;
                                                           26           6.         For recovery of mandatory attorneys’ fees and costs per statute.
                                                           27
                                                           28
                                                                {00189975.DOCX;}                                23
                                                                                                             COMPLAINT
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                                                            1           AS TO THE THIRD CLAIM FOR RELIEF FOR FEDERAL UNFAIR
                                                            2 COMPETITION:
                                                            3           1.         For the greater of actual damages suffered by Plaintiffs or statutory
                                                            4 damages in the amount to be proven at trial;
                                                            5           2.         For temporary, preliminary and permanent injunctions enjoining
                                                            6 Defendants and their officers, employees, directors, agents, servants,
                                                            7 representatives, successors, assigns, and all persons, firms and corporations in
                                                            8 active concert or participation with any of the aforementioned entities from
                                                            9 directly or indirectly infringing Plaintiffs’ trade name or otherwise engaging in
                                                           10 false representation in any manner, including, but not limited to:
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                                                           11                      a.    Selling, marketing or promoting any product or service
                                                           12                      containing Plaintiffs’ famous trade name or mark, “Cheech;”
                                                           13                      b.    Using the website “Cheechsown.com” or any variant thereof;
                                                           14                      c.    Using the corporate name, Cheech’s Own, LLC;
                                                           15                      d.    Using the “DBA” Cheech’s Own Coffee Company;
                                         LAW CORPORATION




                                                           16                      e.    Infringing Plaintiffs’ trade name or mark in any manner and from
                                                           17                      continuing to use any trade name that includes the word “Cheech,”
                                                           18                      which renders “Cheech’s Own” confusingly similar to the trade names
                                                           19                      of Plaintiffs in connection with any goods, services and/or shops;
                                                           20                      f.    Engaging in any conduct which falsely tends to represent
                                                           21                      or is likely to confuse, mislead or deceive consumers and/or members
                                                           22                      of the public into thinking that Defendants are somehow affiliated
                                                           23                      with Plaintiffs or that Defendants' goods, services and/or shops are
                                                           24                      offered by Plaintiffs and/or that the Defendants' goods, services
                                                           25                      and/or shops have been sponsored, approved or licensed by Plaintiffs;
                                                           26                      g.    Engaging in any conduct tending to cause injury to
                                                           27                      Plaintiffs business and/or reputation and/or dilutes the distinctive
                                                           28
                                                                {00189975.DOCX;}                               24
                                                                                                            COMPLAINT
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                                                            1                      quality of Plaintiffs’ trade name; and
                                                            2                      h.    Otherwise unfairly competing with Plaintiffs;
                                                            3           3.         For an Order requiring Defendants to deliver to Plaintiffs all
                                                            4   documents, goods and materials in their possession bearing any trade name and/or
                                                            5   design which is confusingly similar or substantially identical to Plaintiffs' trade
                                                            6   name or otherwise falsely designates and/or falsely represents the origin of
                                                            7   Defendants' goods, services and/or shops;
                                                            8           4.         For an Order requiring Defendants to account to and pay to Plaintiffs
                                                            9   all gains, profits, benefits and advantages derived from Defendants from their acts
                                                           10   of false designation of origin and false representation;
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                                                           11           5.         For an Order requiring Defendants to pay all compensatory damages
                                                           12 suffered by Plaintiffs and/or damages sufficient to compensate for the injury
                                                           13 caused to Plaintiffs by Defendants' conduct;
                                                           14           6.         For punitive and exemplary damages.
                                                           15             AS TO THE FOURTH CLAIM FOR RELIEF FOR UNFAIR
                                         LAW CORPORATION




                                                           16     COMPETITION UNDER CALIFORNIA STATUTE AND COMMON
                                                           17     LAW:
                                                           18           1.         For actual damages suffered by Plaintiffs in an amount to be proven at
                                                           19 trial;
                                                           20           2.         For temporary, preliminary and permanent injunctions under Cal. B&P
                                                           21 Code §17203, or as justice requires, enjoining Defendants from continuing to
                                                           22 engage in the violations alleged, including but not limited to:
                                                           23                      a.    Selling, marketing or promoting any product or services
                                                           24                      containing Plaintiffs’ famous trade name or mark, “Cheech;"
                                                           25                      b.    Using the website “Cheechsown.com” or any variant thereof;
                                                           26                      c.    Using the corporate name, Cheech’s Own, LLC;
                                                           27                      d.    Using the “DBA” Cheech’s Own Coffee Company;
                                                           28
                                                                {00189975.DOCX;}                               25
                                                                                                            COMPLAINT
                                                             Case 2:19-cv-08082 Document 1 Filed 09/18/19 Page 26 of 52 Page ID #:26




                                                            1                      e.    Infringing Plaintiffs' trade name or mark in any manner and from
                                                            2                      continuing to use trade names which are confusingly similar to
                                                            3                      Plaintiffs’ trade name or mark in connection with any goods, services
                                                            4                      and/or shops and/or engaging in unfair competition;
                                                            5                      f.    Engaging in any conduct which falsely tends to represent or is
                                                            6                      likely to confuse, mislead or deceive consumers and/or members of
                                                            7                      the public into thinking that Defendants are somehow affiliated with
                                                            8                      Plaintiffs or that Defendants' goods, services and/or shops are offered
                                                            9                      by Plaintiffs and/or that the Defendants' goods, services and/or shops
                                                           10                      have been sponsored, approved or licensed by Plaintiffs;
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                                                           11                      g.    Engaging in any conduct that tends to cause injury to Plaintiffs’
                                                           12                      business and/or reputation, unfairly competes with Plaintiffs and/or
                                                           13                      dilutes the distinctive quality of Plaintiffs’ trade name; and/or
                                                           14                      h.    Otherwise unfairly competing with Plaintiff;
                                                           15           3.         For an Order requiring Defendants to deliver to Plaintiffs all
                                         LAW CORPORATION




                                                           16 documents, goods and materials in their possession bearing any trade name,
                                                           17 and/or design which is confusingly similar or substantially identical to Plaintiffs'
                                                           18 trade name;
                                                           19           4.         For an Order requiring Defendants to account to and pay to Plaintiffs
                                                           20 all gains, profits, benefits and advantages derived by Defendants from their acts of
                                                           21 false designation of origin and false representations;
                                                           22           5.         For an Order requiring Defendants to pay all compensatory damages
                                                           23 suffered by Plaintiffs and/or damages sufficient to compensate for the injury
                                                           24 caused to Plaintiffs by Defendants' conduct.
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                                                                                                            COMPLAINT
                                                             Case 2:19-cv-08082 Document 1 Filed 09/18/19 Page 27 of 52 Page ID #:27




                                                            1           AS TO THE FIFTH CAUSE OF ACTION FOR VIOLATION OF
                                                            2 THE FEDERAL TRADEMARK DILUTION ACT:
                                                            3           1.         An award of damages from Defendants under 15 U.S.C. §1125(c)(2),
                                                            4 trebled under 15 U.S.C. §1117(a);
                                                            5           2.         For temporary, preliminary and permanent injunctions enjoining
                                                            6 Defendants from continuing to engage in the violations alleged, including but not
                                                            7 limited to:
                                                            8                      a.    Selling, marketing or promoting any product or service that
                                                            9                      contains Plaintiffs’ famous name or mark, “Cheech;”
                                                           10                      b.    Using the website “Cheechsown.com” or any variant thereof;
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                                                           11                      c.    Using the corporate name, Cheech’s Own, LLC;
                                                           12                      d.    Using the “DBA” Cheech’s Own Coffee Company;
                                                           13                      e.    Diluting or infringing Plaintiffs' trade name and federally
                                                           14                      registered trademark in any manner and from continuing to use trade
                                                           15                      names which are confusingly similar to Plaintiffs’ trade name and/or
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                                                           16                      trademark in connection with any goods, services and/or shops;
                                                           17                      f.    Engaging in any conduct which falsely tends to represent or is
                                                           18                      likely to confuse, mislead or deceive consumers and/or members of
                                                           19                      the public into thinking that Defendants are somehow affiliated with
                                                           20                      Plaintiffs or that Defendants' goods, services and/or shops are offered
                                                           21                      by Plaintiffs and/or that the Defendants' goods, services and/or shops
                                                           22                      have been sponsored, approved or licensed by Plaintiffs;
                                                           23                      g.    Engaging in any conduct that tends to cause injury to Plaintiffs’
                                                           24                      business and/or reputation, unfairly competes with Plaintiffs and/or
                                                           25                      dilutes the distinctive quality of Plaintiffs’ trade name;
                                                           26           3.         Because this is an exceptional case, Plaintiffs are entitled to recover
                                                           27 their attorneys’ fees along with the costs of this action under 15 U.S.C. §1117(a).
                                                           28
                                                                {00189975.DOCX;}                                27
                                                                                                             COMPLAINT
                                                            Case 2:19-cv-08082 Document 1 Filed 09/18/19 Page 28 of 52 Page ID #:28




                                                           1            AS TO THE SIXTH CAUSE OF ACTION FOR CALIFORNIA
                                                           2 COMMON LAW DILUTION OF TRADE NAME:
                                                           3            1.         An award of damages from Defendants as allowed under common law;
                                                           4            2.         For temporary, preliminary and permanent injunctions enjoining
                                                           5 Defendants from continuing to engage in the violations alleged, including but not
                                                           6 limited to:
                                                           7                       a.    Selling, marketing or promoting any product or service that
                                                           8                       contains Plaintiff’s famous name, “Cheech;”
                                                           9                       b.    Using the website “Cheechsown.com” or any variant thereof;
                                                           10                      c.    Using the corporate name, Cheech’s Own, LLC;
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                                                           11                      d.    Using the “DBA” Cheech’s Own Coffee Company;
                                                           12                      e.    Diluting or infringing Plaintiffs' trade name and federally
                                                           13                      registered trademark in any manner and from continuing to use trade
                                                           14                      names which are confusingly similar to Plaintiffs’ trade name and/or
                                                           15                      trademark in connection with any goods, services and/or shops;
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                                                           16                      f.    Engaging in any conduct which falsely tends to represent or is
                                                           17                      likely to confuse, mislead or deceive consumers and/or members of
                                                           18                      the public into thinking that Defendants are somehow affiliated with
                                                           19                      Plaintiffs or that Defendants' goods, services and/or shops are offered
                                                           20                      by Plaintiffs and/or that the Defendants' goods, services and/or shops
                                                           21                      have been sponsored, approved or licensed by Plaintiffs;
                                                           22                      g.    Engaging in any conduct that tends to cause injury to Plaintiffs’
                                                           23                      business and/or reputation, unfairly competes with Plaintiffs and/or
                                                           24                      dilutes the distinctive quality of Plaintiffs’ trade name;
                                                           25 3.        For punitive and exemplary damages.
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                                                                {00189975.DOCX;}                                28
                                                                                                             COMPLAINT
                                                             Case 2:19-cv-08082 Document 1 Filed 09/18/19 Page 29 of 52 Page ID #:29




                                                            1           AS TO THE SEVENTH CAUSE OF ACTION FOR CYBERPIRACY:
                                                            2           7.         For the greater of actual damages suffered by Plaintiffs or statutory
                                                            3 damages in the amount to be proven at trial;
                                                            4           8.         For an order of forfeiture or cancellation of Defendants’ website
                                                            5 “cheechsown.com” or any variant thereof that uses Plaintiff’s name or intellectual
                                                            6 property;
                                                            7           9.         For temporary, preliminary and permanent injunctions enjoining
                                                            8 Defendants and their officers, employees, directors, agents, servants,
                                                            9 representatives, successors, assigns, and all persons, firms and corporations in
                                                           10 active concert or participation with any of the aforementioned entities from
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                                                           11 directly or indirectly infringing Plaintiffs’ trade name or otherwise engaging in
                                                           12 false representation in any manner, including, but not limited to:
                                                           13
                                                                                   a.    Selling, marketing or promoting any product or service
                                                           14
                                                                                   containing Plaintiffs’ famous trade name, “Cheech;”
                                                           15
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                                                                                   b.    Using the website “Cheechsown.com” or any variant thereof;
                                                           16
                                                                                   c.    Using the corporate name, Cheech’s Own, LLC;
                                                           17
                                                                                   d.    Using the “DBA” Cheech’s Own Coffee Company;
                                                           18
                                                                                   e.    Infringing Plaintiffs’ trade name or mark in any manner and from
                                                           19
                                                                                   continuing to use any trade name or mark that includes the word
                                                           20
                                                                                   “Cheech,” which renders “Cheech’s Own” confusingly similar to the
                                                           21
                                                                                   trade names or mark of Plaintiffs in connection with any goods,
                                                           22
                                                                                   services and/or shops;
                                                           23
                                                                                   f.    Engaging in any conduct which falsely tends to represent
                                                           24
                                                                                   or is likely to confuse, mislead or deceive consumers and/or members
                                                           25
                                                                                   of the public into thinking that Defendants are somehow affiliated
                                                           26
                                                                                   with Plaintiffs or that Defendants' goods, services and/or shops are
                                                           27
                                                                                   offered by Plaintiffs and/or that the Defendants' goods, services
                                                           28
                                                                {00189975.DOCX;}                               29
                                                                                                            COMPLAINT
                                                            Case 2:19-cv-08082 Document 1 Filed 09/18/19 Page 30 of 52 Page ID #:30




                                                            1                      and/or shops have been sponsored, approved or licensed by Plaintiffs;
                                                            2                      g.    Engaging in any conduct tending to cause injury to
                                                            3                      Plaintiffs business and/or reputation and/or dilutes the distinctive
                                                            4                      quality of Plaintiffs’ trade name; and
                                                            5                      h.    Otherwise unfairly competing with Plaintiffs;
                                                            6           10.        For an Order requiring Defendants to deliver to Plaintiffs all
                                                            7   documents, goods and materials in their possession bearing any trade name and/or
                                                            8   design which is confusingly similar or substantially identical to Plaintiffs' trade
                                                            9   name or otherwise falsely designates and/or falsely represents the origin of
                                                           10   Defendants' goods, services and/or shops;
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                                                           11           11.        For an Order requiring Defendants to account to and pay to Plaintiffs
                                                           12   all gains, profits, benefits and advantages derived from Defendants from their acts
                                                           13   of false designation of origin and false representation;
                                                           14           12.        For punitive and exemplary damages.
                                                           15
                                         LAW CORPORATION




                                                           16           AS TO ALL CAUSES OF ACTION:
                                                           17           1.         For reasonable attorneys' fees;
                                                           18           2.         For costs of suit; and
                                                           19           3.         For such other and further relief as the Court deems just and proper.
                                                           20
                                                           21 Dated: September 18, 2019               Respectfully Submitted,

                                                           22                                          WEINTRAUB TOBIN LAW CORPORATION
                                                           23                                          DAVID R. GABOR

                                                           24                                                / S / David R. Gabor
                                                           25                                          David R. Gabor
                                                                                                       Attorney for Plaintiffs
                                                           26                                          Richard Cheech Marin and
                                                           27                                          Koo Koo Banana, Inc.

                                                           28
                                                                {00189975.DOCX;}                               30
                                                                                                            COMPLAINT
                                                            Case 2:19-cv-08082 Document 1 Filed 09/18/19 Page 31 of 52 Page ID #:31




                                                           1                               DEMAND FOR JURY TRIAL

                                                           2
                                                                        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs
                                                           3
                                                                hereby demands trial by jury on all issues triable by jury.
                                                           4
                                                           5 Dated: September 18, 2019           Respectfully Submitted,
                                                           6
                                                                                                  WEINTRAUB TOBIN LAW CORPORATION
                                                           7                                      DAVID R. GABOR
                                                           8
                                                                                                        / S / David R. Gabor
                                                           9                                      David R. Gabor
                                                           10                                     Attorney for Plaintiffs
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                                                                                                  Richard Cheech Marin and
                                                           11                                     Koo Koo Banana, Inc.
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                                         LAW CORPORATION




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                                                                                                       COMPLAINT
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              EXHIBIT A
           Case 2:19-cv-08082 Document 1 Filed 09/18/19 Page 33 of 52 Page ID #:33



To:             Cheech's Own LLC (jennifercheechsown.com)
Subject:        U.S. TRADEMARK APPLICATION NO. 87799675 - CHEECH'S OWN - N/A
Sent:           6/5/2018 5:05:44 PM
Sent As:        ECOM123@USPTO.GOV
Attachments:    Attachment - 1
                Attachment - 2
                Attachment - 3
                Attachment - 4
                Attachment - 5
                Attachment - 6
                Attachment - 7
                Attachment - 8
                Attachment - 9
                Attachment - 10
                Attachment - 11
                Attachment - 12
                Attachment - 13
                Attachment - 14

                          UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                  OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT'S TRADEMARK APPLICATION


                           U.S. APPLICATION
                           SERIAL NO. 87799675

                           MARK: CHEECH'S
                           OWN
                                                     *87799675*
                           CORRESPONDENT
                           ADDRESS:                 CLICK HERE TO RESPOND TO THIS
                               JENNIFER L           LETTER:
                           FLEISCHER                http://www.usptchgov/trademarks/tens/response forms.jsp
                               LAW OFFICES OF
                           FLEISCHER &               VIEW YOUR APPLICATION FILE
                           FLEISCHER
                               25 NORTH BRIDGE
                           STREET
                               SOMERVILLE, NJ
                           08876-1454

                           APPLICANT: Cheech's
                           Own LLC

                           CORRESPONDENT'S
                           REFERENCE/DOCKET
                           NO:
                              N/A
                           CORRESPONDENT E-
                           MAIL ADDRESS:

                          jennifer@cheechsown.com



                                                    OFFICE ACTION

                          STRICT DEADLINE TO RESPOND TO THIS LETTER
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TO AVOID ABANDONMENT OF APPLICANT'S TRADEMARK APPLICATION, THE USPTO MUST RECEIVE APPLICANT'S
COMPLETE RESPONSE TO THIS LETTER WIThilv 6 MONTHS OF THE ISSUE/MAILING DATE BELOW. A RESPONSE
TRANSMITTED THROUGH THE TRADEMARK ELECTRONIC APPLICATION SYSTEM (TEAS) MUST BE RECEIVED BEFORE
MIDNIGHT EASTERN TIME OF THE LAST DAY OF THE RESPONSE PERIOD.


ISSUE/MAILING DATE: 6/5/2018




The referenced application has been reviewed by the assigned trademark examining attorney. Applicant must respond timely and completely to
the issues below. 15 U.S.C. §1062(b); 37 C.F.R. §§2.62(a), 2.65(a); TMEP §§711, 718.03.


SEARCH OF OFFICE'S DATABASE OF MARKS

The trademark examining attorney has searched the Office's database of registered and pending marks and has found no conflicting marks that
would bar registration under Trademark Act Section 2(d). TMEP §704.02; see 15 U.S.C. §1052(d).


SUMMARY OF ISSUES:
  -• TRADEMARK ACT SECTION 2(a) REFUSAL — FALSE ASSOCIATION BETWEEN APPLIED-FOR MARK AND NAME OF
     FAMOUS LIVING INDIVIDUAL
  • TRADEMARK ACT SECTION 2(c) REFUSAL — APPLIED-FOR MARK 1S A NAME IDENTIFYING A PARTICULAR LIVING
     INDIVIDUAL
  • §2.61(b) REQUEST — INQUIRY ABOUT RELATIONSHIP BETWEEN APPLICATION AND PERSON NAMED IN MARK




TRADEMARK ACT SECTION 2(a) REFUSAL — FALSE ASSOCIATION BETWEEN APPLIED-FOR MARK AND NAME OF
FAMOUS LIVING INDIVIDUAL

Registration is refused because the applied-for mark consists of or includes matter which may falsely suggest a connection with Cheech Marin.
Trademark Act Section 2(a), 15 U.S.C. §1052(a). Although Cheech Marin is not connected with the goods provided by applicant under the
applied-for mark, Cheech Marin is so well-known that consumers would presume a connection. See id.

Under Trademark Act Section 2(a), the registration of a mark that "consists of or comprises matter that may falsely suggest a connection with
persons, institutions, beliefs, or national symbols" is prohibited. In re Pedersen, 109 USPQ2d 1185, 1188 (TTAB 2013). To establish that an
applied-for mark falsely suggests a connection with a person or an institution, the following is required:

       (1)     The mark sought to be registered is the same as, or a close approximation of, the name or identity previously used by another
               person or institution.

       (2)     The mark would be recognized as such, in that it points uniquely and unmistakably to that person or institution.

       (3)     The person or institution identified in the mark is not connected with the goods sold or services performed by applicant under the
               mark.

       (4)     The fame or reputation of the named person or institution is of such a nature that a connection with such person or institution
               would be presumed when applicant's mark is used on its goods.

In re Pedersen, 109 USPQ2d at 1188-89; In re Jackson Int'l Trading Co. , 103 USPQ2d 1417, 1419 (TTAB 2012); TMEP §1203.03(c)(i); see
also [Tun?. of rTotre Dame du Lae v. C. Gourmet Food Imps. Co., 703 F.2d 1372, 1375-77, 217 USPQ 505, 508-10 (Fed. Cir. 1983) (providing
foundational principles for the current four-part test used to determine the existence of a false connection).

The term at issue need not be the actual, legal name of the party falsely associated with applicant's mark to be unregistrable under Section 2(a).
TMEP §1203.03; see, e.g., Hornby v. TJX Cos., 87 USPQ2d 1411, 1417, 1424 (TTAB 2008) (finding TWIGGY to be the nickname of
professional model Lesley Hornby); Buffett v. Chid6"Chi's, 1124.226 USPQ 428, 429-30 (TTAB 1985) (finding MARGARITAVILLE to be the
persona of singer Jimmy Buffett). The term must, however, be so uniquely and unmistakably associated with the named party as to constitute
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that party's name or identity. TMEP §1203.03; see, e.g., In re Cotter & Co., 228 USPQ 202, 204-05 (TTAB 1985); Buffett v. Chide'Chi's, Inc
226 USPQ at 429.

In this case, the applied for mark CHEECH'S OWN, uses the name CHEECH which is the shortened name used by the famous comedian,
actor, narrator, and writer, Cheech Marin. See attached evidence from http://cheechmarin.com/, http://cheechmarin.com/memoir/, and
hnps://twitter.comicheechmarin'?lang=en.

Applicant has applied for "Coffee; Coffee and coffee substitutes; Coffee and tea; Coffee based beverages; Coffee beans; Coffee beverages with
milk; Coffee-based beverages; Coffee-based iced beverages; Prepared coffee and coffee-based beverages; Roasted coffee beans" in International
Class 30. Cheech Marin is a brand ambassador for PAPALOTE MEZCAL. See attached evidence from http://papalotemezcal.com/our-brand-
ambasador/. Therefore, his name is already connected to a beverage. Moreover, consumers are familiar with celebrities creating coffee lines, e.g.,
Rob Zombie (httus://mysmartcup.com/hellbilly-brew-available-from-rob-zombie/), Martha Stewart (httn://marthastewarteafeshop.com/marthas-
blend-whole-bean/), and Hugh Jackman (https://www.laughingmanfoundation.org/#our-origin). Furthermore, celebrities are also known for
creating other food products. See attached evidence. For example, Oprah (http://www.othatsgood.com/products), Paul Newman
(https://newmansown.com/faqs/?type=general-newmans-own; https://www.newmansown.com/beverages/), and Dwight Yoakam
(http://www.bakersfieldbiscuits.com/history.html) all have food lines. As a result, consumers would reasonably believe Cheech Marin is
connected to the applicant's mark.

Thus, registration is refused because the applied-for mark consists of or includes matter which may falsely suggest a connection with famous
comedian, actor, narrator, and writer Cheech Marin. Trademark Act Section 2(a), 15 U.S.C.§1052(a).

Applicant should note the following additional ground for refusal.


TRADEMARK ACT SECTION 2(c) REFUSAL — APPLIED-FOR MARK IS A NAME IDENTIFYING A PARTICULAR LIVING
INDIVIDUAL

Registration is refused because the applied-for mark consists of or comprises a name, portrait, or signature identifying a particular living
individual whose written consent to register the mark is not of record. Trademark Act Section 2(c), 15 U.S.C. §1052(c); TMEP § 1206; see In re
Nieves & Nieves LLC, 113 USPQ2d 1639, 1649-50 (TTAB 2015); In re Hoefflin, 97 USPQ2d 1174, 1175-76 (TTAB 2010).

For purposes of Section 2(c), a name in a mark identifies a particular living individual if the person bearing the name will be associated with the
mark as used on the goods or services because: "(1) the person is so well known that the public would reasonably assume a connection between
the person and the goods or services; or (2) the individual is publicly connected with the business in which the mark is used." In re Nieves &
Nieves LLC, 113 USPQ2d 1639, 1650 (TTAB 2015); see In re Hoefflin, 97 USPQ2d 1174, 1175-76 (TTAB 2010); Krause v. Krause Pubras,
Inc., 76 USPQ2d 1904, 1909-10 (TTAB 2005).

Section 2(c) applies not only to the full name of an individual, but also to any first name, surname, shortened name, pseudonym, stage name, title,
or nickname that identifies a particular living individual. In re Nieves & Nieves LLC, 113 USPQ2d 1629, 1639 (TTAB 2015) (holding
registration of the mark PRINCESS KATE barred under Section 2(c) in the absence of consent to register, because the mark "points uniquely
and unmistakably to Kate Middleton," the Duchess of Cambridge, whose identity is renowned); In re Hoefflin, 97 USPQ2d 1174, 1177-78
(TTAB 2010) (holding registration of the marks OBAMA PAJAMA, OBAMA BAHAMA PAJAMAS, and BARACK'S JOCKS DRESS TO
THE LEFT barred under Section 2(c) in the absence of consent to register, because the marks create a direct association with President Barack
Obama); In re Sauer, 27 USPQ2d 1073, 1074-75 (TTAB 1993) (holding registration of a mark containing BO, used in connection with a sports
ball, barred under Section 2(c) in the absence of consent to register, because BO is the nickname of the well-known athlete BO JACKSON and
thus use of the mark would lead to the assumption that he was associated with the goods), aff'd per curiarn , 26 F.3d 140 (Fed. Cir. 1994).

As stated above, CHEECH is the shortened name of Cheech Marin, a famous comedian, actor, narrator and writer. Since celebrities are
commonly associated with food product lines and Cheech Marin already endorses a beverage, the public would reasonably assume a connection
between him and food products, such as coffee, coffee-based beverages, and coffee beans.

The refusal under Section 2(c) will be withdrawn if applicant provides both of the following:

       (1)     A statement that the name shown in the mark identifies Cheech Marin, a living individual whose consent is of record. If the
               name represents that of a pseudonym, stage name, title and name combination, or nickname, applicant must include a statement
               that CHEECH identifies the stage name or nickname of Richard Marin, a living individual whose consent is of record.

       (2)     A written consent, personally signed by the individual whose name, signature, or portrait appears in the mark, authorizing
               applicant to register the identifying matter as a trademark and/or service mark with the USPTO; for example, an applicant may
               use, if applicable, the following: "1, Cheech Marin, consent to the use and registration of my name as a trademark and/or service
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                mark with the USPTO."

See TMEP §§813, 813.01(a), 1206.04(a).

Applicant is advised that the written consent must include a statement of the party's consent to applicant's registration, and not just the use, of
the identifying matter as a trademark. See Krause v. Krause Pubrns, Inc. , 76 USPQ2d 1904, 1912-13 (TTAB 2005); In re New John Nissen
Mannequins, 227 USPQ 569, 571 (TTAB 1985); TMEP §1206.04(a).

Although applicant's mark has been refused registration, applicant may respond to the refusal by submitting evidence and arguments in support
of registration. However, if applicant responds to the refusals, applicant must also respond to the requirement set forth below.


42.61(b) REQUEST — INQUIRY ABOUT RELATIONSHIP BETWEEN APPLICATION AND PERSON NAMED IN MARK

Due to the renown of the institution or person named in the mark, and the fact that there is no information in the application record regarding a
connection with applicant, applicant must specify whether the person or institution named in the mark has any connection with applicant's
goods, and if so, must describe the nature and extent of that connection. See 37 C.F.R. §2.61(b); TMEP §1203.03(c)(0.


RESPONSE GUIDELINES

TEAS PLUS OR TEAS REDUCED FEE (TEAS RF) APPLICANTS — TO MAINTAIN LOWER FEE, ADDITIONAL
REQUIREMENTS MUST BE MET, INCLUDING SUBMITTING DOCUMENTS ONLINE: Applicants who filed their application online
using the lower-fee TEAS Plus or TEAS RF application form must (1) file certain documents online using TEAS, including responses to Office
actions (see TMEP §§819.02(b), 820.02(b) for a complete list of these documents); (2) maintain a valid e-mail correspondence address; and (3)
agree to receive correspondence from the USPTO by e-mail throughout the prosecution of the application. See 37 C.F.R. §§2.22(b), 2.23(b);
TMEP §§819, 820. TEAS Plus or TEAS RF applicants who do not meet these requirements must submit an additional processing fee of $125
per class of goods. 37 C.F.R. §§2.6(a)(1)(v), 2.22(c), 2.23(c); TMEP §§819.04, 820.04. However, in certain situations, TEAS Plus or TEAS RF
applicants may respond to an Office action by authorizing an examiner's amendment by telephone or e-mail without incurring this additional
fee.


ASSISTANCE

If applicant has questions regarding this Office action, please telephone or e-mail the assigned trademark examining attorney. All relevant e-mail
communications will be placed in the official application record; however, an e-mail communication will not be accepted as a response to this
Office action and will not extend the deadline for filing a proper response. See 37 C.F.R. §§2.62(c), 2.191; TMEP §§304.01-.02, 709.04-.05.
Further, although the trademark examining attorney may provide additional explanation pertaining to the refusals and requirements in this Office
action, the trademark examining attorney may not provide legal advice or statements about applicant's rights. See TMEP §§705.02, 709.06.




                                                /Aubrey Biache/
                                                Examining Attorney
                                                Trademark Law Office 123
                                                (571) 270-0120
                                                aubrey.biache@uspto.gov

TO RESPOND TO THIS LETTER: Go to him://www.uspto.gov/trademarksheas/response forms.jsp. Please wait 48-72 hours from the
issue/mailing date before using the Trademark Electronic Application System (TEAS), to allow for necessary system updates of the application.
For technical assistance with online forms, e-mail TEASPAispto.gov. For questions about the Office action itself, please contact the assigned
trademark examining attorney. E-mail communications will not be accepted as responses to Office actions; therefore, do not respond to
this Office action by e-mail.

All informal e-mail communications relevant to this application will be placed in the official application record.

WHO MUST SIGN THE RESPONSE: It must be personally signed by an individual applicant or someone with legal authority to bind an
applicant (i.e., a corporate officer, a general partner, all joint applicants). If an applicant is represented by an attorney, the attorney must sign the
response.
            Case 2:19-cv-08082 Document 1 Filed 09/18/19 Page 37 of 52 Page ID #:37



PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does not miss crucial deadlines or official
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Case 2:19-cv-08082 Document 1 Filed 09/18/19 Page 38 of 52 Page ID #:38

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                                                                           Nip licheechmarin corn/




    Ha- I E        PRESS           NEWS           CHICANO ART           BOOKS          FILM         CONTACT        CHEECH & CHONG




   Cheech Marin is an
   actor, director,
   comedian, author.
   and Chicano art
   collector, He's also
   half of a comedy
   duo called Cheech
   and Chong, man.


                                                                      News and Events
              January eft 2018 • No Comments                                  February 14tH. 2017                                   Wooer 1991, 2016

      NEW! "Los Tejanos: Chicano Art                          Long-Air cited Memoir Now on Sale!                       "Papel Chicano Dos: Works on
     from the Cheech Marin Collection'                                                                                    Paper' Book + Exhibit
              Book + Exhibit

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                                                              Countercurture egenc Cheech moon came of age at an
                                                              me:re:sung urns n kmenca and became a sett-rnatre    Papa Chicano Des. works on Paper Trom the Collection
                                                              coursertottoe legend 0113 his other nag. Torrirryi   of Crated) Marin presents 65 artworks by 24 ester-woo
        Tepinos: Chicano AO from the Cheeith Marin
   Collection presents 39 artworks h 14 artists born                                                               and emerging artists. Their wort( demonstrates
   arktior based in Texas who are current)); represented in




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Case 2:19-cv-08082 Document 1 Filed 09/18/19 Page 39 of 52 Page ID #:39

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                                                                             httpficheechmarin.corrsernemoirl




               ii_171L30141C3HC


   HOME            PRESS          NEWS            CHICANO ART                BOOKS            FILM          CONTACT               CHEEC H & CHONG




   Low Awaited Memoir Now on Sale!
                     Feb 14, 2017
                                                      Counterculture legend Cheech Marin tame of age at an interesting
                                                      lime in America and became a sell-mane counterculture legend with
                                                      his other had Tommy Chong.
                                                      Cheech is Not My Real Name: ..Bat Don't Cal' Me Chong is an
                                                      insightful memoir that delves into how Cheech dodged the 0011, formed
                                                      one at the most successful comedy duos of all time: became deface
                                                      of the recreational drug movement with the Sim Up in Smoke, /aged a
                                                      successful solo career with roles in The Lion King and more recently
                                                      Jane the Virgin, and became the owner at the most renowned
                                                      collection of Chicano art in the world.
                                                      Written in Cheech's uniquely hilarious voice. his memoir will take you to
                                                      new highs.
                                                      DOWNLOAD PRESS RELEASE HERE

                                                      Order Cheech Is Not My Real Name;            Cell Ma
                                                      Chong NOW online at your /avoid* bookstore or through these
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                                                      Barnes A Noble
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  Kota                                                                                                                                  Be the first 01your friends to like this

  MEET CHEECH ON TOUR
  Cheech will be signeig tee memoir Cheech Is Not My Real Hama:
          &MY Call Me Chong and in many cases. also presenting a
  talk at the Camila; localionS.



  WED 3/15117 67:00 PM
  flainea & Noble Union Square
  33 E. 17th St. New York, NY 10003
  (212) 253-01310
  Free author talk wa'h Introduction by Ernmy and Peabody Award-
  winning journalist Gerald* Rivera and tuudnated by                                                                                    Recent Comments
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  1901 Vine Bt. Philadelphia, PA 19103                                                                                                  What is a Chiecata?
  (215) 5674341
  Ticketed author talk moderated by Andy Kahan, Ruth and A Mcfria V011iarna Loretta of Author Events, takmert by Wolf                   airrn
  signing. Tickets we S15 genera! admission and 57 students, Signed Woks eel De sok! on Me by ...ice:eon Fox Bookshop
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  (450) 6444500
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  general admission and opens at 6:00 PM . TICKETS — Package 1 ($34): One y'1) signed hardcover copy 01 Gneech
  Not My Real Name and ad/mason for one (1) person -.Package 2 (536) One (f) signed hardcover- pew of Chen!? is
  Noldlity Real Name and admission for two (2) people
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  TUE 3128117  a 7:30 PM
  Aratani Theatra presented by the Library foundation of Los Angeles ALOUD Series
  244 3. San Pedro St, Los Angeles, CA 90012
  (213) 6804700
  Ticketed author talk mederated by Marisa? "La Marlsoul" t-temandez of GRAMMY Aware,     ' onnning La Santa Cecilia
  followed by a muscat performance by Cheech with Ls Santa Cocas and a Wok sgning. Trakets rib not include book
  pastanase anti are $45 Prentice (542 Library Foundation Members) and $25 Genera' (522 Library Foundation Members).
  Service and handing tees applicable. Ail safes are final No refunds or exchanges_ Book purchases are separate and
  require proof of purchase Mal eAning for sigrang. Personallzations and tine photo opoodunMes acceplabe„ tie
  permitnng No memoranda signed.
  BUY TICKETS HERE • RSVP on facebook

  WED 3/29117 6 6:30 PM
  "Look Who's Talking" Lecture Series at Riverside Art Museum
  3425 Mission Inn Ave., Riverside, CA 92501
Case 2:19-cv-08082 Document 1 Filed 09/18/19 Page 40 of 52 Page ID #:40

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   600 N. Delaware St., San Mateo, CA 94401
   (650)7624256
   Ticketed autnor talk moderated by American po'itivai satirist WM Burst 'droned by book signing. Toilets a.re S45 {anion
   includes a book and a place in signing line) and 520 general admission Oben does not include a book). Books can also
   be purchased separately that eviebing. Persona!laCans and tine photo apportUnlies nr.,ptabie, time permitting No
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    SAT 4/1117 5:00 PM
    Terairra Coll !r and Sanchez CorrAmporsiy
   1951 Telegraph Ave., Oakland, CA 94612
   (510)350-7871
   DETAILS on Faetbook
   inc.:rated author laid modeiered by Tim Sancnez Wowed by WOK signing. Personaizatons and one photo
   opportunities acceptaare time permitting. No remoratAa Signed UPDATE: This event Is SOLD our' but visit
   Facebook link above to learn how you can buy and pick up your signed book at Tertutia Corley or Sanchez
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   purchased online at least 24 haws ce advance or Or ca'iing.(713) 523-0701 to reserve your copy for purchase on INC
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  REVIEWS & PRAISE
                                                                 1soil can't believe t lost Celebrity Jeopardy to Cheern
                                                                 Mann! Had 1 read Pia book tars_ Inaiad nave known that
                                                                 besides Deng funny, he is sired, thougnffai and 'wawa,fast
                                                                 on the Didier.'- Anderson Cooper
                                                                 '1 remember listening to Meech and Chongs Christmas ski
                                                                 when t was a iod. Chemin was always a trailblazer Hes
                                                                 inciectibly intelligent and exiles* creative. t oast him in so
                                                                 many of my movies because of his magic, his head, and his
                                                                 spirit, This book finally shows One side of Meech that Ttie
                                                                 iceman and cherished far 25 years.' - Robert Rodriguez.
                                                                 filmmaker and founder of the El Rey Network
                                                                   'Cneech ss Not My RealName ...     Don't Call lie Chong'
  is a brilliant rePoleaon of a career that spans decades. In sort data! and precise recall as a fan and a Mend, I felt like
  I was finding a new piece of an moral* puzzle on evey page This hook is a testament to tacitly dispel any talk about
  marijuana naving negative effects. C...neech, thanks for snaring your amazing life with - George Lopez. comedian
  and actor
  WO( only is Cheech Main an innovaave Comedian and actor ine Is a great student of life and a generous champion of
  other artists. The story of his life is as interesting as the charouiers he oreates.'-. John Laasmnr, Chief Crzative Officer,
  Pillar & Wait Disney Animation Studios
  "Creech Plarin...5 man fee known for aver three decades...is one of the Funnies!, most profound; artistic, and creative
  human beings on the planet Them is so much 'hoeTO this man Man has been ;resented to the public through just
  Chen?).& Chong. 1-ks memoir is fascinating and ton no doubt hold your interest...and ran proud to cali him my triend.- -
  John Paul ChiJOria, Pounder & Chairman of Patton, Spirts and Paul Mitchell Halrcare and Philanthropist
  •C.,,   Mann is one ofthe biggest influences on my comedy area my marijuana advocacy. Along wit Sraicai Dogg. Wile
  Nelson and Tommy Chong he is one of the taces 1fl par fle my Mt. 1(ushmone. Whatever you do, do not smoke this book,
  read dr - Doug Benson. comedian
  As a teenager, aneecrt was my hero. les generocaty anarchic spirit made compete sense to me. Plus Ire made my
  parents realty mad. Now r am my parents age and he seems more heroic Man ever 1 just finished reading CHEECH in
  one unable-toiputidown-!he-Dank-adienaiine-rosn. This should be moulted reading for anyone who has a sense of hum'
  or a bong or a due.' - Christopher Ashley. Artistic Director of The La Jolla Playhouse arid Director of the Tony
  Award-winning MEMPHIS
  `phis memoir Ma] rollicking plot-rill personal Maury in which Mann attempts to maker the question he has heart/like a
  refrain over the nearly 70 years he's been alma Whal she no are you?" A fascinating self-portrait and sociai and artistic
  histOly.' - Booklist
  `Boo: ended by looks at his Kilian growing up poor Sobiln Genial Los Angeles and his development as a now well-
  known cofactor or Chicano art this memoir a fun, wacky look inside Mann's imagination' - Publishers Weekly
  A mildly diverting, modesty charming memoir from a suionsogy multifaceted showbiz survivor Kirkus




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Case 2:19-cv-08082 Document 1 Filed 09/18/19 Page 41 of 52 Page ID #:41

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  Cheech Marin.
  Otheecht,Aa!n                                      Cheech Marin O @CheechMarin • May 12
                                                     I'm honored to be included in a new piece of important journalism from
  Half of the hilariously irreverent duo
                                                     @audible com. The Making of a Massacre' which tells the TRUE STORY of people
  Cheech and Chong, Cheech 1S 371 actor:
                                                     caught in the crossfire of the Drug War. Find out itwhathappenedinallende
  director, comedian, author; and Chicano
                                                     audible.com/massacre
  art collector.
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  0 t os Angeles, California

  <9 cheechmarin corn                                                                                   III MAKING         Pi , MASSACRE

  C Joined October 2009

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           @cheechandchonq


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                                                PAPALOTE
                                                       MEZCAL




                    OUR BRAND AMBASADOR

                         Cheech Marin
Cheech Marin is known as an American comedian, actor, narrator
and writer who gained recognition during the 1970s and 1980s.
Cheech is also admired as the owner of the most extensive Chicano
art collection in the world. Cheech feels that it is important to "use
his celebrity status to call attention" to what he sees as an under-
appreciated and under-represented style of art. Cheech proudly
travels the world exhibiting his art collection as an avid supporter of
the Chicano art form.

Cheech Marin has long been heralded as one of America's favorite
comedians and has gained a reputation as a "feel good, enjoy life,
have fun" persona. Cheech brings to the Tres Papalate
collaboration his passion for living one's best life ever, with an
invitation to consumers to step up to the elegance of the Tres
Papalote experience.

Accompanying his experience as a respected businessman and art
collector, Cheech has developed the taste level of a sophisticated
gentleman. As brand ambassador, his message to the public is: "Now
it's your turn—discover the spirit of a new era and experience the
magic of Tres Papalate® Mezcal—my Mezcalt




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 Hellbilly Brew Available frorni Rob Zombie
      October 31. 2017 by smartcuo         Leave a Can-anent
                                                                                                                               XPress Lid - Wet Opera...
 The iliustrious man of horror — both in film and
 rock — is known for many things but now Rob
 Zombie wants to add coffee to his repertoire. As
 such be s selling his own Hellbilly line of beans

 `What ran I say? I f—ing love coffee,' Zombie
 fold Noisecreep. 'I started drinking this magic
                                                                                                                            )(Press Makes a Perfect Cup of Coffee
 drink when t was a little kid and never stopped_
 So that's the reason I now have my own Hellbilly
 brew; 24!7, cranked on black gold! Hell yeah, let's                                                                         FP21Cti this weliste
 got' With green coffee beans now at a value
 higher than ever before, we can all call our                                                                                NEWS FROM XPRESS LID BY SMARTC4
 mere/,g !apeligvid 9,&1
                                                                                                                               Bob /Coffee 'rearview (11)
 Right now, Hellbilly's whole roasted beans can
                                                                                                                               Communlfies (5)
 be ordered throagh Zombie's websaewith two
                                                                                                                               EVENT PODCAST (4)
 different styles available' a French blend and a
                                                                                                                               EVENT VIDEO (31)
 Peruvian. Both are certified 100 percent organic.
                                                                                                                            ▪ Features (4)
 The French roast promises on first sip to have a                                                                           a Industry News (93)
 "surprising characteristic that you'll notice when                                                                            Innovations (7)
you purchase whole beans — a hint of speckle.'                                                                                 Smartt:am News 1135:1
 Blended from various roasts the Hellbilly French                                                                           s Updates (4)
Roast goes for a more complex taste than just                                                                                  XPress Success
railing the second temperature crack that makes
French roasts the darkest of coffees to begin your
                                                                                                                             ENEWS AND UPDATE
day with.
                                                                                                                            Sign up to receive breaking newsl
The Peruvian beans hold to the medium-bodied style and fruit finish that are synonymous with the coffee
cultivated in the areas reaching from the tips of the Andes to the moist and breezy forests of the Amazon                   your email address              En
Basin.

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Scheduled to be shipping now, Hellbilly coffee would make a great belated holiday gift for your closest coffee
fiend.

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Speak Your Mind                                                                                                                Retreat
                                                                                                                            ✓ Gloria Jeans Coffees
                                                                                                                               Xfless Lid Goes Large: Now Available for 20oz
                                                                                                                               Cups




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                                        SHOP




                                                                                     v,a r+a's Bend - Whole Bean
                                                                                     $13.50


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                                                                                     Quantity:




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   Prodoct Description

   For Martha, the very best coffees should be complex in flavor and never bitter or burnt.Her signature blend [oinbines medium-roast beans from Ethiopia,

   Kenya, and Guatemala with a darker Indonesian roast. It's bold yet nuanced, with a full body and deep, rich finish.


   This package holds 12 ounces of Martha's Blend whole coffee beans, yielding 31 B-ounce cups.




   Product Reviesvn




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                                   htlps://wwwlaughingmanfoundati on org.our-origin




                                  OUR ORIGIN



  LAUGHING MAN COFFEE STARTED
  WITH A PROMISE HUGH JACKMAN
  MADE TO OUR GOOD FRIEND AND
  ETHIOPIAN COFFEE FARMER DUKALE
  AND HIS FAMILY.




                 The Laughing Man -
                 Foundation supports coffee
                 farming communities by
                 investing in programs that
                 clear the way &health,
                 orell0Thand     tcess for

             t    ette farmers and their
            2rf,ami7e.S. It started with a
                 Pamise Hugh Jackman ,made to our good friend
       ,•        and Ethitiptan Coffee farmer Dukale and his family.
            •,
     1`,         Sinceineeting Dukale, Hugh was inspired to start
                 Laughing Man Coffee and the Laughing Man
                 Foundation to support Dukale and similar farmers
                 around the coffee growing world. What we learned
                 from Dukale was first, that amazing coffees are
                 being grown by small farmers like Dukale and they
                 needed to be shared Second, coffee farming is a
                 family affair. Everyone is part of the process and
                 family is not just those in your home but the

                 .community   around you that helps and benefits from
                 your success This appreciation for community and
                 family is very much a part of how we operate our
              cafes and we wanted the foundation to be an
                                                          ,
            • extension of that, So we look to programs that are
                 not so Much about making more sustainable coffee,
Case 2:19-cv-08082 Document 1 Filed 09/18/19 Page 46 of 52 Page ID #:46

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                             reps New, laughingmanfoundation orggiour-origin

              although we do, b 'focus on sustainable
                                   nd community




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                                                     GROWTH OF
                                                     LAUGHING MAN
                                                     COFFEE AND THE
                                                     LAUGHING MAN
                                                     FOUNDATION.




                 CURRENT PROJECT
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        goodness of. cauliflower baked sight into the crust. Enjoy the cheesy pizza you have a!,:. ayr      a
        whdle new way.




           SUPREME PIZZA                 FIVE CHEESE PIZZA                 FIRE ROASTED                         UNCURED
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                auliflowet                     cauliflower                  with a TWIST of                    with a TWIST of
                                                                               cauliflower                        cauliflower


        'Less than S4 cup vegetables per serving
                                                   —man




        FLAVORFUL SOUPS
        0 That's Good! soups are made using real ingredients like broccoli and potatoes, but v.itri the added
        goodness of hearty vegetables like butternut squash and cauliflower. Rediscover your favorte recipes
        thanks to a whole new, nutritious TWIST




           BAKED POTATO                            CREAMY              BROCCOLI CHEDDAR                      CREAMY
                                                                                                               _.   TOMATO
 Case 2:19-cv-08082 Document 1 Filed 09/18/19 Page 48 of 52 Page ID #:48

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                     FLAVORFUL SOUPS
                     0, That's Good! soups are made using real ingredients like broccoli and potatoes, out with the added
                     goodness of hearty vegetables like butternut squash and cauliflower. Rediscover your favorite recipes
                     thanks to a whole new, nutritious TWIST




                        BAKED POTATO                           CREAMY                 BROCCOLI CHEDDAR             CREAMY TOMATO
                            SOUP                              BUTTERNUT                        SOUP                    BASIL SOUP
                          with a TWIST of                    SQUASH SOUP              with a TWIST of butternut   with a TWIST of celery &
                             cauliflower                WA a TWIST of sweet                   squash                      carrots
                                                         potatoes & carrots




                     SAVORY SIDES
                     Made to please everyone at your table. 0, That's Goodl sides pack flavorful ingredients alongside the
                     nuintious deliciousness of cauliflower and beans. Enjoy the clank comforts you love in a whole new
                     way




                      ORIGINAL MASHED                       GARLIC MASHED                THREE CHEESE             CREAMY PARMESAN
                         POTATOES                             POTATOES                        PASTA                       PASTA
                         with a TWIST of                     with a TWIST of —        with a TWIST of butternut    with e TWIST of white
                            cauliflower                         cauliflower                    Squash                      beans




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                                OUR PRODUCTS                     "Eicrythuig's bcucr whorl you shnrc it"

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                 Frequently Asked Questions

                 Got a question about Newman's Own? Please choose a category below to find answers10 the most common questions
                 about our company and products.

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                   How are the profits from Newman's Own,Inc distributed to charities?



                          Newman's Own, Inc. gives all profits after taxes to Newman's Own Foundation. We continue Paul
                          Newman's commitment to donate all such profits to a broad spectrum of organizations dedicated to
                          educational and charitable purposes Newman's Own Foundation also donates to chanty ail net royalties
                          from the sale of products using the Newman's Own brand name. To learn more about Newman's Own
                          Foundation, please go to www.newmansovinfounciation.on




                   How can Ilearn more about the grant applicably process?




      Food                        Beyeraves                Company                   Pet Food

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          Beverages
          Whether it's a cool glass of lemonade or
          your morning cup of organic coffee or
          tea, Newman's Own delivers.



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                              Coffee                              Tea                            Refrigerated Drinks                                   Wine




      f ood                            Beverages                Company                  Pet Food
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HISTORY

Since our founding lied Wino' the turn of the century, the Dwight Yoakam's flakerofielrl Biscuit brand has been synonymous with quality, comfort,
taste and style Over the span of our history, Dwight Yoakarn's Bakeislield Biscuit Brand will rise unity the finst ingredients and employ only the
best cnzftsme.n available to bring you the hest torkf product.

Our Horrible Beginning
Dwight Yoakam's Bakersfield Biscuit Brandlwas founded by legendary entertainer Dwight Yoakam and Biscuit Boy. BOY was born in Oklahoma in
1957, just outside of the Seneca Cayuga Indian Reservallqn.

BOY was the second of tour kids born into Cannel Cad and Chu lene's felinity of traveling carnies who worked the midways, carnivals and fairs
throughout the Midwest and south with their concession business selling caramel apples, crillim randy, funnel cakes, and roasted ears of cam on
 lie cob (when in seassx-D. When theldlIlily business grew to include Charlerre's Chicken and Biscuits, BOY learned at his minnow's knee her time-
tested recipe for buttermilk biscuits and showed such a knack for making them LlIdt he came to be known as Biscuit BOY.

When Biscuit Boy was about in, he fell in love with Dori Rae Rattliffe who was nut canvassing for the evangelical crusade of Reverend I melt
Fellows and his Traveling Flock of the Sacred Wairrufe.d (The Reverend anointed her the "Hower Child" who would pass out the token Ruses of
Sharon to the newly saved converts who came forward during each service.) Boy followed his lovesick heart, leaving Carmel Carl arid Charlene to
join Iallows' I lock, raking his mamma's biscuit recipe with him. 1 or fifteen years Biscuit BOY stayed with the flock as an assistant shepherd,
serving up Iris biscuits at tent meetings, until, at uric fateful revival in Bakersfield, CA, the Reverend's oldest boy hum a previous ITIcliTidOe. spiked
a story about his lather's current double marriage and shady history of handling donations, the news of which scion found Rev. Fellows serving a
chunk of time her Income Tax Fraud.

Biscuit Boy, finding himself on iris own in Bakersfield, was looking for work at a music store (since he used to tune guitars far his Undo's hand
that played the carnivals) when he happened to meet up with Dwight Ynakarn who was buying some strings and a guitar strap. Dwight was in
town lot the Grand opening of Buck Owens' Crystal Palace nightclub and restaurant and, alien learning ul Buy's inherited talent for food, got him
hired on as a cook at lire Crystal Palace. Dwiglil asked Biscuit Buy it he couldn't whip up a little± something special for Buck to, celebrate the Grand
Opening, so the two of them took Biscuit Boy's special recipe, incorporated a few oh Dwight's own ideas, and prepared a batch of buttermilk
biscuit,. The folks liked 'em so much, they just frail In keep making 'em.

Our Amazing Success
Since then, the incredible team of Biscuit Roy, Dwight Mak-am and their disributor Modern f oods, have introduced dormers of new food items into
the marketplace, including Bean Dips, Mini cheesieburgMis, Chicken Sandwiches, Ribs and - of course biscuits.

And that's how Dwight YOakiirIP, Bakersfield Biscuit; CCOrle to be served at Buck Owen's Crystal Palace, and huw they're now available at your
local store. lust heat'eni arid erit'ern.
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 To:                   Cheech's Own LLC (jennifer@cheechsown.com)

 Subject:             U.S. TRADEMARK APPLICATION NO. 87799675 - CHEECH'S OWN - N/A

 Sent:                6/5/2018 5:05:46 PM
 Sent As:             ECOM123@USPTO.GOV

 Attachments:


                            UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)




                                        IMPORTANT NOTICE REGARDING YOUR
                                           U.S. TRADEMARK APPLICATION

                                 USPTO OFFICE ACTION (OFFICIAL LETTER) HAS ISSUED
                                 ON 6/5/2018 FOR U.S. APPLICATION SERIAL NO. 87799675

Please follow the instructions below:

(1) TO READ THE LETTER: Click on this link or go to http://tsdr.uspto.gov, enter the U.S. application serial number, and click on
"Documents."

The Office action may not be immediately viewable, to allow for necessary system updates of the application, but will be available within 24
hours of this e-mail notification.

(2) TIMELY RESPONSE IS REQUIRED: Please carefully review the Office action to determine (I) how to respond, and (2) the applicable
response time period. Your response deadline will be calculated from 6/5/2018 (or sooner if specified in the Office action). A response
transmitted through the Trademark Electronic Application System (TEAS) must be received before midnight Eastern Time of the last day of the
response period. For information regarding response time periods, see http://www.uspto.gov/trademarks/processistatus/responsetime.isp.

Do NOT hit "Reply" to this e-mail notification, or otherwise e-mail your response because the USPTO does NOT accept e-mails as
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http://www.uspto.gov/trademarks/teas/response forms.i sp.

(3) QUESTIONS: For questions about the contents of the Office action itself, please contact the assigned trademark examining attorney. For
technical assistance in accessing or viewing the Office action in the Trademark Status and Document Retrieval (TSDR) system, please e-mail
TSDRAuspto.gov.


                                                              WARNING

Failure to file the required response by the applicable response deadline will result in the ABANDONMENT of your application. For
more information regarding abandonment, see http://www.uspto.gov/trademarks/basics/abandon.isp.

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using information provided in trademark applications to mail or e-mail trademark-related solicitations. These companies often use names that
closely resemble the USPTO and their solicitations may look like an official government document. Many solicitations require that you pay
"fees."

Please carefully review all correspondence you receive regarding this application to make sure that you are responding to an official document
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Patent and Trademark Office" in Alexandria, VA; or sent by e-mail from the domain "@uspto.gov." For more information on how to handle
private company solicitations, see http://www.uspto.gov/trademarks/solicitation warnings.isp.
